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                             UNITED STATES
                             UNITED  STATES DISTRICT
                                            DISTRICT COURT
                                                     COURT
                          FOR THE
                          FOR THE DISTRICT
                                   DISTRICT OF
                                            OF MASSACHUSETTS
                                               MASSACHUSETTS


MARGARET CZERWIENSKI,
MARGARET    CZERWIENSKI,
LILIA KILBURN, and
LILIA KILBURN,  and AMULYA
                    AMULYA
MANDAVA
MANDAVA

         Plaintiffs,
         Plaintiffs,
Vv.                                                     Case No.
                                                        Case     1:22-cv-10202-JGD
                                                             No. 1:22-cv-10202-JGD
v.

HARVARD UNIVERSITY
HARVARD  UNIVERSITY AND
                    AND THE
                         THE
PRESIDENT AND
PRESIDENT AND FELLOWS
              FELLOWS OF
                       OF
HARVARD COLLEGE
HARVARD  COLLEGE

         Defendant.
         Defendant.

         DECLARATION OF
         DECLARATION  OF LILIA
                          LILIA KILBURN
                                KILBURN IN
                                        IN OPPOSITION
                                           OPPOSITION TO
                                                      TO DEFENDANT’S
                                                          DEFENDANTS
      AMENDED  MOTION FOR
      AMENDED MOTION   FOR PARTIAL
                            PARTIAL SUMMARY
                                     SUMMARY JUDGMENT
                                               JUDGMENT AS
                                                         AS TO
                                                            TO COUNT
                                                               COUNT TEN
                                                                     TEN


          I,I, Lilia
               Lilia Kilburn,
                     Kilburn, hereby
                              hereby declare,
                                     declare, under
                                              under penalty
                                                    penalty of
                                                            of perjury,
                                                               perjury, pursuant
                                                                        pursuant to
                                                                                 to 28
                                                                                    28 U.S.C.
                                                                                       U.S.C. §§ 1746,
                                                                                                 1746,

that the
that the following
         following is
                   is true
                      true and
                           and correct:
                               correct:


          1.
          1.     My name
                 My name is
                         is Lilia
                            Lilia Kilburn.
                                  Kilburn. II am
                                              am aa graduate
                                                    graduate student
                                                             student in
                                                                     in Harvard
                                                                        Harvard University’s
                                                                                University’s

Anthropology department
Anthropology department and
                        and aa Plaintiff
                               Plaintiff in
                                         in the
                                            the above-captioned
                                                above-captioned matter.
                                                                matter. I| submit
                                                                           submit this
                                                                                  this declaration
                                                                                       declaration

in opposition
in opposition to
              to Defendant’s
                 Defendant’s Motion
                             Motion for
                                    for Partial
                                        Partial Summary
                                                Summary Judgment
                                                        Judgment as
                                                                 as to
                                                                    to Count
                                                                       Count Ten
                                                                             Ten (Dkts.
                                                                                 (Dkts. 24–
                                                                                        24—

29) and
29) and Defendant’s
        Defendant’s Amended
                    Amended Motion
                            Motion for
                                   for Partial
                                       Partial Summary
                                               Summary Judgment
                                                       Judgment as
                                                                as to
                                                                   to Count
                                                                      Count Ten
                                                                            Ten (Dkts.
                                                                                (Dkts.

47-52).
47–52).

          2.
          2.     Professor Comaroff
                 Professor Comaroff sexually
                                    sexually harassed
                                             harassed me
                                                      me for
                                                         for over
                                                             over two
                                                                  two years,
                                                                      years, from
                                                                             from before
                                                                                  before I|

matriculated at
matriculated at Harvard
                Harvard in
                        in 2017
                           2017 through
                                through 2019.
                                        2019. His
                                              His behavior
                                                  behavior caused
                                                           caused me
                                                                  me extreme
                                                                     extreme emotional
                                                                             emotional

distress, for
distress, for which
              which II sought
                       sought therapy
                              therapy from
                                      from aa licensed
                                              licensed mental
                                                       mental health
                                                              health professional
                                                                     professional in
                                                                                  in 2018
                                                                                     2018 and
                                                                                          and 2019.
                                                                                              2019.

          3.
          3.     In May
                 In May 2019,
                        2019, I| complained
                                 complained about
                                            about Professor
                                                  Professor Comaroff’s
                                                            Comaroft’s harassment
                                                                       harassment of
                                                                                  of me
                                                                                     me to
                                                                                        to Dr.
                                                                                           Dr.

Seth Avakian,
Seth Avakian, University
              University Program
                         Program Officer
                                 Officer for
                                         for Title
                                             Title IX
                                                   1X and
                                                      and Professional
                                                          Professional Conduct
                                                                       Conduct and
                                                                               and the
                                                                                   the Title
                                                                                       Title IX
                                                                                             IX


                                                   1
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Resource
Resource Coordinator
         Coordinator for
                     for graduate
                         graduate students
                                  students and
                                           and faculty
                                               faculty in
                                                       in Harvard’s
                                                          Harvard’s Faculty
                                                                    Faculty of
                                                                            of Arts
                                                                               Arts and
                                                                                    and

Sciences
Sciences (“FAS”).
         (“FAS”).

       4.
       4.      On approximately
               On approximately May
                                May 20,
                                    20, 2020,
                                        2020, over
                                              over aa year
                                                      year after
                                                           after I1 had
                                                                    had complained
                                                                        complained to
                                                                                   to Dr.
                                                                                      Dr.

Avakian, he
Avakian, he informed
            informed me
                     me that,
                        that, based
                              based on
                                    on the
                                       the complaints
                                           complaints he
                                                      he received
                                                         received from
                                                                  from me
                                                                       me and
                                                                          and three
                                                                              three other
                                                                                    other

graduate students
graduate students (Margaret
                  (Margaret Czerwienski,
                            Czerwienski, Amulya
                                         Amulya Mandava,
                                                Mandava, and
                                                         and Harvard
                                                             Harvard Student
                                                                     Student 2),
                                                                             2), he
                                                                                 he had
                                                                                    had

filed aa formal
filed    formal complaint
                complaint against
                          against Professor
                                  Professor Comaroff
                                            Comaroff with
                                                     with Harvard’s
                                                          Harvard’s Office
                                                                    Office For
                                                                           For Dispute
                                                                               Dispute

Resolution
Resolution (“ODR”).
           (“ODR”).

       5.
       5.      On approximately
               On approximately May
                                May 21,
                                    21, 2020,
                                        2020, I| learned
                                                 learned that
                                                         that The
                                                              The Harvard
                                                                  Harvard Crimson
                                                                          Crimson (the
                                                                                  (the

“Crimson”)
“Crimson”) would
           would publish
                 publish an
                         an article
                            article revealing
                                    revealing aa long pattern of
                                                 long pattern of sexual
                                                                 sexual abuse
                                                                        abuse perpetrated
                                                                              perpetrated by
                                                                                          by

senior male
senior male professors
            professors in
                       in Harvard’s
                          Harvard’s Anthropology
                                    Anthropology Department,
                                                 Department, including
                                                             including Professor
                                                                       Professor Comaroff.
                                                                                 Comaroff.

That article
That article was published on
             was published on May
                              May 29,
                                  29, 2020.
                                      2020.

       6.
       6.      On June
               On June 4,
                       4, 2020,
                          2020, after
                                after the
                                      the Crimson
                                          Crimson published
                                                  published its
                                                            its article,
                                                                article, ODR
                                                                         ODR investigator
                                                                             investigator Ilissa
                                                                                          llissa

Povich emailed
Povich emailed me,
               me, notifying
                   notifying me
                             me that
                                that aa formal
                                        formal complaint
                                               complaint had
                                                         had been
                                                             been filed
                                                                  filed with ODR and
                                                                        with ODR and

requesting aa two-hour
requesting    two-hour interview
                       interview with me on
                                 with me on June
                                            June 88 or
                                                    or June
                                                       June 9,
                                                            9, 2020.
                                                               2020. Ex.
                                                                     Ex. 1.
                                                                         1.

       7.
       7.      I| did
                  did not
                      not respond
                          respond immediately
                                  immediately to
                                              to Ms.
                                                 Ms. Povich’s
                                                     Povich’s email.
                                                              email. I| was unsure of
                                                                        was unsure of what
                                                                                      what would
                                                                                           would

be expected
be expected of
            of me
               me in
                  in aa two-hour
                        two-hour interview,
                                 interview, and
                                            and needed
                                                needed time
                                                       time to
                                                            to prepare
                                                               prepare myself.
                                                                       myself. I| was
                                                                                  was also
                                                                                      also

enrolled in
enrolled in aa time-intensive
               time-intensive language
                              language class
                                       class in
                                             in preparation
                                                preparation for
                                                            for my
                                                                my field
                                                                   field study.
                                                                         study.

       8.
       8.      Ms. Povich
               Ms. Povich followed
                          followed up
                                   up via
                                      via email
                                          email on
                                                on June
                                                   June 8,
                                                        8, 2020,
                                                           2020, and
                                                                 and told
                                                                     told me
                                                                          me that
                                                                             that if
                                                                                  if II did
                                                                                        did not
                                                                                            not

get back
get back to
         to her
            her by
                by June
                   June 10,
                        10, 2020,
                            2020, she
                                  she would
                                      would “understand
                                            “understand that
                                                        that [I]
                                                             [I] do
                                                                 do not
                                                                    not wish to participate
                                                                        wish to participate in
                                                                                            in the
                                                                                               the

ODR process
ODR process as
            as either
               either aa potential
                         potential complainant
                                   complainant or
                                               or aa witness,”
                                                     witness,” because an “initial
                                                               because an “initial review”
                                                                                   review” of
                                                                                           of aa

complaint typically
complaint typically needed
                    needed to
                           to be
                              be “concluded
                                 “concluded within
                                            within one
                                                   one week
                                                       week of
                                                            of the
                                                               the date
                                                                   date the
                                                                        the complaint
                                                                            complaint was
                                                                                      was

received.”
received.” Ex.
           EX. 1.




                                                 2
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       9.
       9.       I| did
                   did wish
                       wish to
                            to participate
                               participate in
                                           in the
                                              the ODR
                                                  ODR process,
                                                      process, but
                                                               but II did
                                                                      did not
                                                                          not understand
                                                                              understand why Ms.
                                                                                         why Ms.

Povich was
Povich     imposing this
       was imposing this timeline
                         timeline on
                                  on me;
                                     me; I| had
                                            had waited
                                                waited over
                                                       over aa year
                                                               year for
                                                                    for Dr.
                                                                        Dr. Avakian
                                                                            Avakian to
                                                                                    to investigate
                                                                                       investigate

my complaint.
my complaint.

       10.
       10.      I| responded
                   responded to
                             to Ms.
                                Ms. Povich
                                    Povich on
                                           on June
                                              June 8,
                                                   8, 2020
                                                      2020 that
                                                           that I| wished to participate
                                                                   wished to participate in
                                                                                         in the
                                                                                            the ODR
                                                                                                ODR

process, but
process, but that
             that I| was
                     was in
                         in aa rural
                               rural area
                                     area with
                                          with poor
                                               poor internet
                                                    internet and
                                                             and would
                                                                 would likely
                                                                       likely have
                                                                              have trouble
                                                                                   trouble making
                                                                                           making aa

lengthy call.
lengthy call. II asked
                 asked to
                       to check
                          check in
                                in with
                                   with her
                                        her later
                                            later that
                                                  that week.
                                                       week. Ex.
                                                             EX. 1.
                                                                 1.

       11.
       11.      On June
                On June 9,
                        9, 2020,
                           2020, Ms.
                                 Ms. Povich
                                     Povich asked
                                            asked me
                                                  me when
                                                     when I| would
                                                             would like
                                                                   like to
                                                                        to meet.
                                                                           meet. Ex.
                                                                                 Ex. 1.
                                                                                     1. I| did
                                                                                           did not
                                                                                               not

respond immediately,
respond immediately, because,
                     because, among
                              among other
                                    other reasons,
                                          reasons, I| was busy with
                                                      was busy with the
                                                                    the language
                                                                        language class
                                                                                 class and
                                                                                       and

studying for
studying for my
             my upcoming
                upcoming exams.
                         exams.

       12.
       12.      On June
                On June 12,
                        12, 2020,
                            2020, Ms.
                                  Ms. Povich
                                      Povich emailed
                                             emailed me
                                                     me that
                                                        that if
                                                             if I| did
                                                                   did not
                                                                       not get
                                                                           get back
                                                                               back to
                                                                                    to her
                                                                                       her by
                                                                                           by June
                                                                                              June

16,
16, 2020,
    2020, she
          she would
              would “understand
                    “understand that
                                that [I]
                                     [I] do
                                         do not
                                            not wish
                                                wish to
                                                     to participate
                                                        participate in
                                                                    in the
                                                                       the ODR
                                                                           ODR investigation
                                                                               investigation as
                                                                                             as aa

potential complainant
potential complainant or
                      or aa witness.”
                            witness.” Ex.
                                      EX. 1.
                                          1.

       13.
       13.      On June
                On June 17,
                        17, 2020,
                            2020, Ms.
                                  Ms. Povich
                                      Povich emailed
                                             emailed me
                                                     me that
                                                        that because
                                                             because I| had
                                                                        had not
                                                                            not yet
                                                                                yet responded,
                                                                                    responded,

she “understand[s]
she “understand[s] that
                   that [I]
                        [I] do
                            do not
                               not wish to participate
                                   wish to participate in
                                                       in the
                                                          the ODR
                                                              ODR process
                                                                  process as
                                                                          as either
                                                                             either aa potential
                                                                                       potential

complainant
complainant or
            or aa witness.”
                  witness.” Ex.
                            EX. 1.
                                1.

       14.
       14.      On June
                On June 17,
                        17, 2020,
                            2020, I| emailed
                                     emailed Ms.
                                             Ms. Povich
                                                 Povich that
                                                        that I| had
                                                                had returned
                                                                    returned to
                                                                             to an
                                                                                an area
                                                                                   area with
                                                                                        with better
                                                                                             better

service and
service and could
            could speak
                  speak to
                        to her
                           her the
                               the following
                                   following day.
                                             day. However,
                                                  However, II still
                                                              still felt
                                                                    felt that
                                                                         that II did
                                                                                 did not
                                                                                     not sufficiently
                                                                                         sufficiently

understand the
understand the ODR
               ODR process
                   process and
                           and what would be
                               what would be expected
                                             expected of
                                                      of me,
                                                         me, and
                                                             and I| was busy working
                                                                    was busy working on
                                                                                     on an
                                                                                        an

intensive language
intensive language course
                   course as
                          as required
                             required by
                                      by my
                                         my graduate
                                            graduate program
                                                     program and
                                                             and studying
                                                                 studying for
                                                                          for exams.
                                                                              exams. I| wrote
                                                                                        wrote

Ms. Povich,
Ms. Povich, “I
            “I would
               would like
                     like to
                          to hear
                             hear more
                                  more about
                                       about the
                                             the process, as II don’t
                                                 process, as    don’t feel
                                                                      feel that
                                                                           that II have
                                                                                   have aa strong
                                                                                           strong

understanding of
understanding of what
                 what it
                      it entails.
                         entails. I| would like to
                                     would like to participate,
                                                   participate, but
                                                                but am
                                                                    am somewhat
                                                                       somewhat perplexed
                                                                                perplexed by
                                                                                          by all
                                                                                             all of
                                                                                                 of

the references
the references to
               to aa timeline
                     timeline which
                              which was not explained
                                    was not explained to
                                                      to me,
                                                         me, especially
                                                             especially given
                                                                        given that
                                                                              that it
                                                                                   it is
                                                                                      is June
                                                                                         June and
                                                                                              and

many of
many of us
        us have
           have other
                other obligations
                      obligations at
                                  at this
                                     this time.”
                                          time.” Ex.
                                                 EX. 1.
                                                     1.



                                                  3
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       15.
       15.        Ms.
                  Ms. Povich
                      Povich responded
                             responded by
                                       by suggesting
                                          suggesting II could
                                                        could “withdraw[
                                                              “withdraw[ ]|] [my]
                                                                             [my] complaint”
                                                                                  complaint” or,
                                                                                             or,

because someone
because someone had
                had filed
                    filed aa complaint
                             complaint on
                                       on my behalf, “withdraw
                                          my behalf, “withdraw [my]
                                                               [my] participation”
                                                                    participation” from
                                                                                   from that
                                                                                        that

complaint. Ex.
complaint. Ex. 1.
               1. I| felt
                     felt pressured
                          pressured by
                                    by Ms.
                                       Ms. Povich’s
                                           Povich’s email,
                                                    email, and
                                                           and emailed
                                                               emailed her
                                                                       her on
                                                                           on June
                                                                              June 17,
                                                                                   17,

       ItIt feels
            feels asas though
                        though you
                                 you areare pressuring
                                               pressuring me    me toto withdraw
                                                                         withdraw my   my complaint,
                                                                                            complaint, although
                                                                                                              although II am am
       making clear
       making        clear I| have
                               have no no intention
                                            intention of    of doing
                                                                doing so  so and
                                                                               and simply
                                                                                    simply needneed more
                                                                                                       more time.time. I| trust
                                                                                                                           trust
       you
       you willwill understand
                       understand my    my concern
                                               concern about about thisthis sudden
                                                                              sudden emphasis
                                                                                         emphasis on    on an an immediate
                                                                                                                   immediate
       turnaround, given
       turnaround,        given that
                                   that I| filed
                                            filed my my complaint
                                                           complaint over  over aa year
                                                                                    year ago.
                                                                                           ago. Another
                                                                                                 Another complainant
                                                                                                                complainant
       filed 33 years
       filed       years ago.
                           ago. This
                                  This is is the
                                              the first
                                                    first response
                                                           response we         have had,
                                                                         we have      had, and
                                                                                            and isis occurring
                                                                                                      occurring duringduring aa
       time when
       time     when I| havehave limited
                                    limited access
                                                access to  to communications,
                                                               communications, and       and aa time
                                                                                                  time of   of considerable
                                                                                                                considerable
       turmoil overall.
       turmoil       overall. I| am
                                 am also
                                       also in in the
                                                   the midst
                                                         midst of of an
                                                                      an intensive
                                                                           intensive language
                                                                                        language course
                                                                                                      course through
                                                                                                                  through thethe
       FLAS program.
       FLAS        program. I| am  am concerned
                                        concerned about   about the the sudden
                                                                          sudden emphasis
                                                                                    emphasis on   on “prompt
                                                                                                        “prompt methods
                                                                                                                      methods
       of investigation,”
       of    investigation,” when  when this this hashas not
                                                           not appeared
                                                                 appeared to    to be
                                                                                    be aa concern
                                                                                           concern of    of the
                                                                                                              the university
                                                                                                                    university
       until now.
       until    now. I,I, too,
                            too, want
                                  want aa prompt
                                               prompt process.
                                                            process. But But I| amam also
                                                                                       also concerned
                                                                                              concerned with   with thethe fact
                                                                                                                            fact
       that aa timeline
       that       timeline that
                              that has
                                     has not
                                           not been
                                                  been transparently
                                                          transparently communicated
                                                                               communicated with   with me,  me, and
                                                                                                                   and which
                                                                                                                         which
       you
       you are are representing
                      representing as  as rigid
                                            rigid andand inflexible,
                                                            inflexible, is  is being
                                                                                being imposed
                                                                                         imposed in   in such
                                                                                                           such aa way      that
                                                                                                                     way that
       does not
       does      not allow
                        allow meme to to “equitably”
                                           “equitably” present present aa case case regarding
                                                                                      regarding my   my experiences
                                                                                                             experiences of   of
       sexual violence
       sexual      violence on on the
                                    the part
                                         part of of aa Harvard
                                                        Harvard faculty
                                                                     faculty member.
                                                                                 member.

       16.
       16.        On June
                  On June 18,
                          18, 2020,
                              2020, I| spoke
                                       spoke with
                                             with Ms.
                                                  Ms. Povich
                                                      Povich on
                                                             on the
                                                                the phone.
                                                                    phone. II told
                                                                              told Ms.
                                                                                   Ms. Povich
                                                                                       Povich that
                                                                                              that I|

feared that
feared that Professor
            Professor Comaroff
                      Comaroff would
                               would retaliate
                                     retaliate against
                                               against me
                                                       me for
                                                          for participating
                                                              participating in
                                                                            in the
                                                                               the ODR
                                                                                   ODR process.
                                                                                       process.

       17.
       17.        Dr. Avakian’s
                  Dr. Avakian’s complaint
                                complaint contained
                                          contained several
                                                    several errors.
                                                            errors. So
                                                                    So I| also
                                                                          also agreed
                                                                               agreed to
                                                                                      to send
                                                                                         send Ms.
                                                                                              Ms.

Povich aa statement
Povich    statement in
                    in which
                       which I| would
                                would correct
                                      correct errors
                                              errors in
                                                     in the
                                                        the present
                                                            present complaint
                                                                    complaint filed
                                                                              filed by
                                                                                    by Dr.
                                                                                       Dr. Avakian
                                                                                           Avakian

and to
and to help
       help the
            the investigation,
                investigation, because
                               because I| wanted to prevent
                                          wanted to prevent future
                                                            future harm
                                                                   harm to
                                                                        to other
                                                                           other students.
                                                                                 students.

       18.
       18.        Ms. Povich
                  Ms. Povich also
                             also told
                                  told me
                                       me during
                                          during the
                                                 the June
                                                     June 18,
                                                          18, 2020
                                                              2020 meeting
                                                                   meeting that
                                                                           that I| could
                                                                                   could appoint
                                                                                         appoint aa

personal advisor
personal advisor to
                 to help
                    help me
                         me through
                            through the
                                    the ODR
                                        ODR process,
                                            process, but
                                                     but that
                                                         that I| was on aa tight
                                                                 was on    tight deadline
                                                                                 deadline to
                                                                                          to find
                                                                                             find

one. I| told
one.    told Ms.
             Ms. Povich
                 Povich that
                        that it
                             it was
                                was very
                                    very difficult
                                         difficult for
                                                   for me
                                                       me to
                                                          to secure
                                                             secure an
                                                                    an advisor
                                                                       advisor in
                                                                               in such
                                                                                  such aa short
                                                                                          short

timeframe, whereas
timeframe, whereas Professor
                   Professor Comaroff
                             Comaroff had
                                      had already
                                          already secured
                                                  secured aa personal
                                                             personal advisor
                                                                      advisor and
                                                                              and legal
                                                                                  legal

representation. I| ultimately
representation.    ultimately secured
                              secured aa personal
                                         personal advisor
                                                  advisor in
                                                          in early
                                                             early July
                                                                   July 2020.
                                                                        2020.

       19.
       19.        In the
                  In the days
                         days following
                              following the
                                        the June
                                            June 18,
                                                 18, 2020
                                                     2020 meeting
                                                          meeting with
                                                                  with Ms.
                                                                       Ms. Povich,
                                                                           Povich, I| began
                                                                                      began to
                                                                                            to

realize that
realize that Ms.
             Ms. Czerwienski,
                 Czerwienski, Ms.
                              Ms. Mandava,
                                  Mandava, and
                                           and I| would
                                                  would have
                                                        have to
                                                             to invest
                                                                invest significant
                                                                       significant time
                                                                                   time and
                                                                                        and

resources
resources into
          into the
               the ODR
                   ODR process
                       process and
                               and that
                                   that we
                                        we would
                                           would have
                                                 have to
                                                      to do
                                                         do so
                                                            so on
                                                               on ODR’s
                                                                  ODR’s imposed
                                                                        imposed deadlines.


                                                                  4
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       20.
       20.     I| sent
                  sent my
                       my written
                          written statement
                                  statement to
                                            to ODR
                                               ODR on
                                                   on July
                                                      July 13,
                                                           13, 2020.
                                                               2020. In
                                                                     In it,
                                                                        it, I| described
                                                                               described Professor
                                                                                         Professor

Comaroff’s harassment
Comaroff’s harassment of
                      of me
                         me and
                            and the
                                the impact
                                    impact it
                                           it had
                                              had on
                                                  on me.
                                                     me. I| did
                                                            did not
                                                                not mention
                                                                    mention that
                                                                            that I| had
                                                                                    had seen
                                                                                        seen

therapists while
therapists       Professor Comaroff
           while Professor Comaroff was harassing me.
                                    was harassing me. I| submitted
                                                         submitted minor
                                                                   minor amendments
                                                                         amendments to
                                                                                    to that
                                                                                       that

statement on
statement on approximately
             approximately July
                           July 16,
                                16, 2020.
                                    2020.

       21.
       21.     Throughout the
               Throughout the ODR
                              ODR process,
                                  process, I| never
                                              never fully
                                                    fully understood
                                                          understood what
                                                                     what information
                                                                          information II

provided to
provided to ODR
            ODR would
                would be
                      be shared
                         shared with
                                with Professor
                                     Professor Comaroff
                                               Comaroff and
                                                        and vice
                                                            vice versa. ODR gave
                                                                 versa. ODR gave me
                                                                                 me

vague—and at times
vague—and at times conflicting—explanations
                   conflicting—explanations of
                                            of what
                                               what information
                                                    information would
                                                                would be
                                                                      be shared
                                                                         shared with the
                                                                                with the

other party,
other party, and
             and refused
                 refused to
                         to clarify
                            clarify further
                                    further even
                                            even when
                                                 when I| asked.
                                                         asked.

       22.
       22.     For example,
               For          on July
                   example, on July 1,
                                    1, 2020,
                                       2020, II emailed
                                                emailed ODR
                                                        ODR and
                                                            and asked,
                                                                asked, “I
                                                                       “I would
                                                                          would have
                                                                                have concerns
                                                                                     concerns

about sharing
about sharing electronic
              electronic copies
                         copies of
                                of things,
                                   things, given
                                           given how
                                                 how easily
                                                     easily they
                                                            they can
                                                                 can be
                                                                     be copied.
                                                                        copied. How
                                                                                How are
                                                                                    are you
                                                                                        you all
                                                                                            all

approaching this?”
approaching this?” Ex.
                   Ex. 2.
                       2. On
                          On July
                             July 2,
                                  2, 2020,
                                     2020, ODR
                                           ODR Fellow
                                               Fellow Jessica
                                                      Jessica Shaffer
                                                              Shaffer explained
                                                                      explained via
                                                                                via email
                                                                                    email that,
                                                                                          that,

“[d]uring
“[d]uring the
          the course
              course of
                     of the
                        the investigation,
                            investigation, both
                                           both the
                                                the complainant
                                                    complainant and
                                                                and the
                                                                    the respondent
                                                                        respondent will
                                                                                   will have
                                                                                        have the
                                                                                             the

opportunity to
opportunity to respond
               respond to
                       to all
                          all information
                              information used
                                          used by
                                               by the
                                                  the Investigative
                                                      Investigative Team
                                                                    Team in
                                                                         in reaching
                                                                            reaching its
                                                                                     its

conclusions. They
conclusions. They will
                  will also
                       also have
                            have the
                                 the opportunity
                                     opportunity to
                                                 to provide
                                                    provide the
                                                            the Investigative
                                                                Investigative Team
                                                                              Team with any
                                                                                   with any

additional information
additional information that
                       that they
                            they have.
                                 have. This
                                       This information,
                                            information, like
                                                         like other
                                                              other information
                                                                    information received
                                                                                received from
                                                                                         from

the complainant
the complainant and
                and respondent
                    respondent during
                               during the
                                      the investigatory
                                          investigatory process,
                                                        process, will
                                                                 will be
                                                                      be shared
                                                                         shared with
                                                                                with the
                                                                                     the

other,” which
other,” which mirrors
              mirrors the
                      the Frequently
                          Frequently Asked
                                     Asked Questions
                                           Questions Concerning
                                                     Concerning the
                                                                the Harvard’s
                                                                    Harvard’s Sexual
                                                                              Sexual and
                                                                                     and

Gender-Based Harassment
Gender-Based Harassment Policy
                        Policy and
                               and Procedures
                                   Procedures document
                                              document II previously
                                                          previously received.
                                                                     received. Ex.
                                                                               Ex. 3.
                                                                                   3.

       23.
       23.     However, in
               However, in the
                           the same
                               same email,
                                    email, Ms.
                                           Ms. Shaffer
                                               Shaffer qualified
                                                       qualified that
                                                                 that “[b]oth
                                                                      “[b]oth parties have the
                                                                              parties have the

right to
right to review
         review and
                and respond
                    respond to
                            to all
                               all information
                                   information that
                                               that ODR
                                                    ODR may
                                                        may rely
                                                            rely on
                                                                 on in
                                                                    in the
                                                                       the investigation.”
                                                                           investigation.” Ex.
                                                                                           Ex.

3. Throughout
3. Throughout the
              the ODR
                  ODR process,
                      process, ODR
                               ODR repeated
                                   repeated variations
                                            variations of
                                                       of that
                                                          that explanation;
                                                               explanation; they
                                                                            they would share
                                                                                 would share

with Professor Comaroff
with Professor Comaroff only
                        only information
                             information on
                                         on which ODR “may
                                            which ODR “may rely”
                                                           rely” or
                                                                 or “might
                                                                    “might rely.”
                                                                           rely.” No
                                                                                  No one




                                                  5
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explained
explained to
          to me
             me how
                how ODR
                    ODR would
                        would determine
                              determine whether
                                        whether it
                                                it “may
                                                   “may rely”
                                                        rely” or
                                                              or “might
                                                                 “might rely”
                                                                        rely” on
                                                                              on

information I| shared
information    shared with
                      with them,
                           them, and
                                 and thus
                                     thus pass
                                          pass it
                                               it on
                                                  on to
                                                     to Professor
                                                        Professor Comaroff.
                                                                  Comaroff.

       24.
       24.     II continued
                  continued to
                            to ask
                               ask questions
                                   questions about
                                             about what information would
                                                   what information would be
                                                                          be shared,
                                                                             shared, but
                                                                                     but did
                                                                                         did not
                                                                                             not

get aa straightforward
get    straightforward answer.
                       answer. In
                               In aa July
                                     July 16,
                                          16, 2020
                                              2020 interview
                                                   interview with
                                                             with ODR,
                                                                  ODR, Ms.
                                                                       Ms. Povich
                                                                           Povich said
                                                                                  said words
                                                                                       words to
                                                                                             to

the effect
the effect that
           that Professor
                Professor Comaroff
                          Comaroff would see everything
                                   would see everything I| submit,
                                                           submit, but
                                                                   but that
                                                                       that this
                                                                            this didn’t
                                                                                 didn’t apply
                                                                                        apply to
                                                                                              to

procedural questions.
procedural questions. She
                      She said
                          said that
                               that ODR
                                    ODR doesn’t
                                        doesn’t share
                                                share interviews
                                                      interviews in
                                                                 in their
                                                                    their entirety,
                                                                          entirety, only
                                                                                    only portions
                                                                                         portions

that ODR
that ODR might
         might rely
               rely on.
                    on. In
                        In October
                           October 2020,
                                   2020, when
                                         when I| asked
                                                 asked Ms.
                                                       Ms. Povich
                                                           Povich further
                                                                  further clarifying
                                                                          clarifying questions
                                                                                     questions

about the
about the information
          information sharing
                      sharing process,
                              process, she
                                       she wrote: “ODR shares
                                           wrote: “ODR shares any
                                                              any substantive
                                                                  substantive information
                                                                              information

provided by
provided by one
            one party
                party with the other
                      with the other party,”
                                     party,” but
                                             but does
                                                 does not
                                                      not share
                                                          share information
                                                                information that
                                                                            that “raise[s]
                                                                                 “raise[s] only
                                                                                           only

procedural questions.”
procedural             She did
           questions.” She did not
                               not explain
                                   explain what
                                           what ODR
                                                ODR considers
                                                    considers “substantive”
                                                              “substantive” or
                                                                            or “procedural
                                                                               “procedural

questions.” I| found
questions.”    found these
                     these answers
                           answers inconsistent
                                   inconsistent and
                                                and unclear.
                                                    unclear. But
                                                             But usually
                                                                 usually when
                                                                         when I| asked
                                                                                 asked for
                                                                                       for more
                                                                                           more

clarification, ODR
clarification, ODR investigators
                   investigators told
                                 told me
                                      me that
                                         that they
                                              they are
                                                   are “neutrals”
                                                       “neutrals” and
                                                                  and referred
                                                                      referred me
                                                                               me to
                                                                                  to the
                                                                                     the

procedures I| had
procedures    had already
                  already reviewed.
                          reviewed.

       25.
       25.     ODR also
               ODR also treated
                        treated different
                                different types
                                          types of
                                                of evidence
                                                   evidence in
                                                            in different
                                                               different ways
                                                                         ways that
                                                                              that were never
                                                                                   were never

clearly explained
clearly explained to
                  to me.
                     me. For
                         For example,
                             example, Ms.
                                      Ms. Czerwienski,
                                          Czerwienski, Ms.
                                                       Ms. Mandava,
                                                           Mandava, and
                                                                    and I| attempted
                                                                           attempted to
                                                                                     to submit
                                                                                        submit

evidence in
evidence in the
            the form
                form of
                     of text
                        text messages
                             messages to
                                      to ODR.
                                         ODR. ODR
                                              ODR asked
                                                  asked both
                                                        both the
                                                             the sender
                                                                 sender and
                                                                        and the
                                                                            the recipient
                                                                                recipient of
                                                                                          of

each text
each text message
          message conversation
                  conversation whether
                               whether each
                                       each consented
                                            consented to
                                                      to the
                                                         the text
                                                             text messages
                                                                  messages being
                                                                           being used
                                                                                 used as
                                                                                      as

evidence in
evidence in the
            the ODR
                ODR process.
                    process. When
                             When aa sender
                                     sender or
                                            or recipient
                                               recipient withheld consent, ODR
                                                         withheld consent, ODR did
                                                                               did not
                                                                                   not rely
                                                                                       rely on
                                                                                            on

those text
those text messages,
           messages, and
                     and as
                         as I| understand
                               understand it,
                                          it, did
                                              did not
                                                  not share
                                                      share them
                                                            them with
                                                                 with Professor
                                                                      Professor Comaroff.
                                                                                Comaroff.

       26.
       26.     At one point,
               At one point, I| was
                                was told
                                    told that
                                         that parties
                                              parties would
                                                      would not
                                                            not receive
                                                                receive copies
                                                                        copies of
                                                                               of evidence,
                                                                                  evidence, but
                                                                                            but

rather have
rather have the
            the right
                right to
                      to review
                         review evidence
                                evidence gathered
                                         gathered by
                                                  by the
                                                     the ODR
                                                         ODR in
                                                             in aa conference
                                                                   conference room.
                                                                              room.

       27.
       27.     Yet ODR
               Yet ODR did
                       did not
                           not specifically
                               specifically tell
                                            tell me
                                                 me how
                                                    how it
                                                        it would treat medical
                                                           would treat medical records.
                                                                               records. ODR
                                                                                        ODR

did not
did not explain
        explain to
                to me
                   me whether medical records
                      whether medical records would
                                              would be
                                                    be shared
                                                       shared with
                                                              with Professor
                                                                   Professor Comaroff
                                                                             Comaroff



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automatically, or
automatically, or if
                  if they
                     they would
                          would only
                                only be
                                     be shared
                                        shared if
                                               if they
                                                  they were
                                                       were documents
                                                            documents on
                                                                      on which
                                                                         which ODR
                                                                               ODR “may
                                                                                   “may

rely” and
rely” and how
          how that
              that would
                   would be
                         be determined.
                            determined. ODR
                                        ODR also
                                            also did
                                                 did not
                                                     not ask
                                                         ask me
                                                             me for
                                                                for my
                                                                    my explicit
                                                                       explicit consent
                                                                                consent to
                                                                                        to

release them.
release them. Nor
              Nor did
                  did ODR
                      ODR tell
                          tell me
                               me that
                                  that Professor
                                       Professor Comaroff
                                                 Comaroff would
                                                          would be
                                                                be receiving
                                                                   receiving aa copy
                                                                                copy of
                                                                                     of my
                                                                                        my

medical records
medical records by
                by email,
                   email, his
                          his to
                              to keep
                                 keep forever.
                                      forever.

       28.
       28.     Usually when
               Usually when I| asked
                               asked for
                                     for clarification
                                         clarification on
                                                       on how
                                                          how information
                                                              information would be shared,
                                                                          would be shared, ODR
                                                                                           ODR

insisted
insisted that
         that they
              they were
                   were aa “neutral”,
                           “neutral”, and
                                      and that beyond providing
                                          that beyond providing me
                                                                me with
                                                                   with the
                                                                        the ODR
                                                                            ODR policies,
                                                                                policies, they
                                                                                          they

could not
could not give
          give further
               further guidance.
                       guidance. My
                                 My personal
                                    personal advisor
                                             advisor could
                                                     could give
                                                           give me
                                                                me only
                                                                   only limited
                                                                        limited advice
                                                                                advice on
                                                                                       on how
                                                                                          how

information would
information would be
                  be shared.
                     shared.

       29.
       29.     Professor Comaroff
               Professor Comaroff responded
                                  responded to
                                            to my
                                               my complaint
                                                  complaint on
                                                            on August
                                                               August 12,
                                                                      12, 2020.
                                                                          2020. ODR
                                                                                ODR shared
                                                                                    shared

aa copy
   copy of
        of his
           his response
               response with
                        with me.
                             me. Ex.
                                 Ex. 4.
                                     4.

       30.
       30.     In his
               In his August
                      August 12,
                             12, 2020
                                 2020 response,
                                      response, Professor
                                                Professor Comaroff
                                                          Comaroff wrote that he
                                                                   wrote that he knew
                                                                                 knew I| was
                                                                                         was

experiencing
experiencing “substantial
             “substantial emotional
                          emotional distress”
                                    distress” but
                                              but claimed
                                                  claimed it
                                                          it was
                                                             was “for
                                                                 “for reasons
                                                                      reasons unrelated
                                                                              unrelated to
                                                                                        to [him].”
                                                                                           [him].”

He also
He also wrote
        wrote that
              that he
                   he and
                      and his
                          his wife
                              wife Jean
                                   Jean Comaroff
                                        Comaroff had
                                                 had considered
                                                     considered “alert[ing]
                                                                “alert[ing] others
                                                                            others in
                                                                                   in the
                                                                                      the

department, or
department, or even
               even at
                    at the
                       the university’s health services.”
                           university’s health services.” II found
                                                             found Professor
                                                                   Professor Comaroff’s
                                                                             Comaroff’s claim
                                                                                        claim very
                                                                                              very

upsetting; I| felt
upsetting;    felt he
                   he was
                      was implying
                          implying to
                                   to ODR
                                      ODR that
                                          that my
                                               my allegations
                                                  allegations were not credible
                                                              were not credible and
                                                                                and my
                                                                                    my memory
                                                                                       memory

unreliable due
unreliable due to
               to distress
                  distress I| was suffering. I| did
                              was suffering.    did experience
                                                    experience emotional
                                                               emotional distress
                                                                         distress while
                                                                                  while being
                                                                                        being

Professor Comaroff’s
Professor Comaroff’s advisee,
                     advisee, but
                              but it
                                  it was
                                     was largely
                                         largely due
                                                 due to
                                                     to his
                                                        his harassment
                                                            harassment of
                                                                       of me,
                                                                          me, and
                                                                              and I| wondered
                                                                                     wondered

how II could
how    could prove
             prove that
                   that to
                        to ODR.
                           ODR.

       31.
       31.     I| recalled
                  recalled that
                           that I| had
                                   had seen
                                       seen aa therapist
                                               therapist at
                                                         at Harvard
                                                            Harvard University
                                                                    University Health
                                                                               Health Services
                                                                                      Services

(“HUHS”) in
(“HUHS”) in the
            the summer
                summer of
                       of 2018,
                          2018, and
                                and that
                                    that I| confided
                                            confided in
                                                     in him
                                                        him about
                                                            about Professor
                                                                  Professor Comaroff’s
                                                                            Comaroff’s

harassment of
harassment of me.
              me. In
                  In one
                     one of
                         of our
                            our sessions,
                                sessions, he
                                          he implied
                                             implied that
                                                     that he
                                                          he was
                                                             was aa mandatory
                                                                    mandatory reporter
                                                                              reporter as
                                                                                       as aa

Harvard employee,
Harvard employee, which
                  which I| understood
                           understood to
                                      to mean
                                         mean that
                                              that he
                                                   he had
                                                      had aa duty
                                                             duty to
                                                                  to report
                                                                     report harassment
                                                                            harassment to
                                                                                       to

Harvard. Because
Harvard. Because I| was
                    was not
                        not yet
                            yet ready
                                ready to
                                      to make
                                         make aa complaint
                                                 complaint to
                                                           to Harvard,
                                                              Harvard, I| sought
                                                                          sought out
                                                                                 out aa private
                                                                                        private



                                                 7
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therapist who
therapist who was
              was unaffiliated
                  unaffiliated with
                               with Harvard.
                                    Harvard. I| saw
                                                saw aa private
                                                       private therapist
                                                               therapist in
                                                                         in 2018
                                                                            2018 and
                                                                                 and 2019,
                                                                                     2019, and
                                                                                           and I|

also confided
also confided in
              in her
                 her about
                     about Professor
                           Professor Comaroff’s
                                     Comaroff’s harassment
                                                harassment of
                                                           of me
                                                              me and
                                                                 and the
                                                                     the impact
                                                                         impact it
                                                                                it had
                                                                                   had on
                                                                                       on me.
                                                                                          me.

        32.
        32.     I| decided
                   decided to
                           to reach
                              reach out
                                    out to
                                        to both
                                           both therapists
                                                therapists to
                                                           to determine
                                                              determine whether
                                                                        whether they
                                                                                they recalled
                                                                                     recalled my
                                                                                              my

descriptions
descriptions of
             of Professor
                Professor Comaroff’s
                          Comaroff’s harassment
                                     harassment or whether they
                                                or whether they had
                                                                had any
                                                                    any notes
                                                                        notes of
                                                                              of our
                                                                                 our sessions.
                                                                                     sessions.

If they
If they did
        did have
            have any
                 any notes
                     notes of
                           of our
                              our sessions,
                                  sessions, I| planned
                                               planned to
                                                       to review
                                                          review them
                                                                 them before
                                                                      before deciding
                                                                             deciding whether
                                                                                      whether to
                                                                                              to

submit them
submit them as
            as evidence
               evidence to
                        to ODR.
                           ODR.

        33.
        33.     On August
                On August 19,
                          19, 2020,
                              2020, II messaged
                                       messaged the
                                                the HUHS
                                                    HUHS therapist
                                                         therapist to
                                                                   to ask
                                                                      ask if
                                                                          if he
                                                                             he had
                                                                                had relevant
                                                                                    relevant

notes from
notes from our
           our conversations
               conversations in
                             in August
                                August 2018.
                                       2018. Ex.
                                             Ex. 5.
                                                 5. I| reviewed
                                                       reviewed the
                                                                the records
                                                                    records and
                                                                            and unfortunately,
                                                                                unfortunately,

they were
they      cursory and
     were cursory and did
                      did not
                          not specifically
                              specifically mention
                                           mention the
                                                   the harassment
                                                       harassment I| had
                                                                     had discussed
                                                                         discussed with
                                                                                   with the
                                                                                        the

therapist. I| decided
therapist.    decided not
                      not to
                          to share
                             share the
                                   the medical
                                       medical records
                                               records with
                                                       with ODR.
                                                            ODR.

        34.
        34.     On August
                On        20, 2020,
                   August 20, 2020, I| emailed
                                       emailed the
                                               the private
                                                   private therapist.
                                                           therapist. I| wrote,
                                                                         wrote, “[i]n
                                                                                “[i]n one
                                                                                      one of
                                                                                          of our
                                                                                             our last
                                                                                                 last

sessions in
sessions in May
            May 2019,
                2019, I| believe
                         believe II told
                                    told you
                                         you about
                                             about some
                                                   some misconduct
                                                        misconduct I| had
                                                                      had experienced
                                                                          experienced from
                                                                                      from aa

faculty member,
faculty member, John
                John Comaroff,
                     Comaroff, early
                               early in
                                     in my
                                        my graduate
                                           graduate studies,
                                                    studies, and
                                                             and that
                                                                 that I| was thinking of
                                                                         was thinking of

approaching the
approaching the Title
                Title IX
                      IX office.”
                         office.” II explained
                                     explained that
                                               that II had
                                                       had now
                                                           now filed
                                                               filed aa complaint
                                                                        complaint against
                                                                                  against him,
                                                                                          him, and
                                                                                               and

asked, “[s]o
asked, “[s]Jo I’m
              I'm writing
                  writing on
                          on that
                             that front
                                  front to
                                        to see
                                           see if
                                               if you
                                                  you might
                                                      might have
                                                            have notes
                                                                 notes from
                                                                       from our
                                                                            our sessions
                                                                                sessions that
                                                                                         that

mention any
mention any of
            of this.
               this. Probable
                     Probable dates
                              dates when
                                    when we
                                         we talked
                                            talked about
                                                   about this
                                                         this would be May
                                                              would be May 3rd
                                                                           3rd 2019
                                                                               2019 and
                                                                                    and

May 15th
May 15th 2019.
         2019. I| would also be
                  would also be happy
                                happy to
                                      to set
                                         set up
                                             up aa time
                                                   time to
                                                        to talk
                                                           talk about
                                                                about this
                                                                      this if
                                                                           if that
                                                                              that would
                                                                                   would be
                                                                                         be easier.”
                                                                                            easier.”

I| wanted
   wanted to
          to see
             see whether
                 whether my
                         my therapist
                            therapist had
                                      had any
                                          any notes,
                                              notes, which,
                                                     which, just like my
                                                            just like my HUHS
                                                                         HUHS medical
                                                                              medical records,
                                                                                      records,

I| wanted to review.
   wanted to review. Ex.
                     EX. 6.
                         6.

        35.
        35.     On the
                On the same
                       same day,
                            day, my
                                 my therapist
                                    therapist responded
                                              responded via
                                                        via email
                                                            email that
                                                                  that she
                                                                       she was
                                                                           was on
                                                                               on vacation
                                                                                  vacation and
                                                                                           and

that her
that her internet
         internet access
                  access was
                         was “tenuous.”
                             “tenuous.” She
                                        She wrote,
                                            wrote, “I
                                                   “I don’t
                                                      don’t find
                                                            find notes
                                                                 notes for
                                                                       for you
                                                                           you for
                                                                               for May
                                                                                   May 2019.
                                                                                       2019.

They end
They end in
         in April.
            April. IT have
                      have to
                           to figure
                              figure out
                                     out if
                                         if there’s
                                            there’s another
                                                    another way
                                                            way to
                                                                to get
                                                                   get them.
                                                                       them. .. .. .. When
                                                                                      When II get
                                                                                              get back to
                                                                                                  back to

Boston I| can
Boston    can see
              see if
                  if I| can
                        can find
                            find my
                                 my notebook
                                    notebook from
                                             from that
                                                  that time
                                                       time where
                                                            where there
                                                                  there may
                                                                        may be
                                                                            be more
                                                                               more specific
                                                                                    specific



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information
information II can
               can also
                   also look
                        look to
                             to see
                                see if
                                    if there
                                       there is
                                             is aa way
                                                   way to
                                                       to recover
                                                          recover what’s
                                                                  what’s still
                                                                         still missing.”
                                                                               missing.” Then
                                                                                         Then she
                                                                                              she

offered,
offered, “I
         “I would
            would be
                  be glad
                     glad to
                          to write up aa brief
                             write up    brief statement
                                               statement acknowledging
                                                         acknowledging that
                                                                       that we
                                                                            we talked
                                                                               talked about
                                                                                      about

sexual harassment
sexual harassment by
                  by professors
                     professors in
                                in your
                                   your department
                                        department on
                                                   on aa number
                                                         number of
                                                                of occasions
                                                                   occasions and
                                                                             and that
                                                                                 that you also
                                                                                      you also

discussed the
discussed the damage
              damage these
                     these people
                           people could
                                  could do
                                        do to
                                           to your
                                              your academic
                                                   academic career.
                                                            career. I| can
                                                                       can attest
                                                                           attest to
                                                                                  to your
                                                                                     your deep
                                                                                          deep

unhappiness in
unhappiness in the
               the department
                   department related
                              related to
                                      to sexual
                                         sexual harassment
                                                harassment on
                                                           on various levels throughout
                                                              various levels throughout the
                                                                                        the

department and
department and how
               how ineffective
                   ineffective your
                               your repeated
                                    repeated efforts
                                             efforts to
                                                     to report
                                                        report this
                                                               this proved.
                                                                    proved. I’ll
                                                                            I'll let
                                                                                 let you
                                                                                     you know
                                                                                         know

whether
whether II can
           can find
               find anything
                    anything more
                             more specific
                                  specific when
                                           when II get
                                                   get home.”
                                                       home.” Ex.
                                                              EX. 6.
                                                                  6.

       36.
       36.     On the
               On the same
                      same day,
                           day, II responded
                                   responded to
                                             to my
                                                my therapist
                                                   therapist via
                                                             via email,
                                                                 email, “I
                                                                        “lI would
                                                                            would greatly
                                                                                  greatly

appreciate if
appreciate if you
              you could
                  could check
                        check your
                              your notes
                                   notes back
                                         back in
                                              in Boston,
                                                 Boston, and
                                                         and if
                                                             if you
                                                                you could
                                                                    could write up aa statement.
                                                                          write up    statement.

Would it
Would it be
         be helpful
            helpful if
                    if II checked
                          checked in
                                  in when
                                     when you are back
                                          you are back from
                                                       from vacation?
                                                            vacation? If
                                                                      If so,
                                                                         so, when
                                                                             when would
                                                                                  would that
                                                                                        that

be?” EX. 6.
be?” Ex. 6. If
            If my
               my therapist
                  therapist had
                            had any
                                any notes
                                    notes from
                                          from May
                                               May 2019,
                                                   2019, or
                                                         or if
                                                            if she
                                                               she were
                                                                   were to
                                                                        to write
                                                                           write up
                                                                                 up aa statement
                                                                                       statement

regarding Professor
regarding Professor Comaroff’s
                    Comaroff’s harassment
                               harassment and
                                          and the
                                              the impact
                                                  impact it
                                                         it had
                                                            had on
                                                                on me,
                                                                   me, II planned
                                                                          planned to
                                                                                  to review
                                                                                     review

them before
them before deciding
            deciding whether to submit
                     whether to submit them
                                       them to
                                            to ODR.
                                               ODR.

       37.
       37.     At no point
               At no point in
                           in these
                              these August
                                    August 20,
                                           20, 2020
                                               2020 communications
                                                    communications did
                                                                   did my
                                                                       my therapist
                                                                          therapist mention
                                                                                    mention aa

waiver that would
waiver that would give
                  give Harvard
                       Harvard permission
                               permission to
                                          to review
                                             review these
                                                    these documents,
                                                          documents, nor
                                                                     nor did
                                                                         did II sign
                                                                                sign one.
                                                                                     one.

       38.
       38.     On August
               On August 24,
                         24, 2020,
                             2020, II submitted
                                      submitted my
                                                my reply
                                                   reply to
                                                         to Professor
                                                            Professor Comaroff’s
                                                                      Comaroff’s August
                                                                                 August 12,
                                                                                        12,

2020 response
2020 response to
              to ODR.
                 ODR. In
                      In order
                         order to
                               to rebut
                                  rebut Professor
                                        Professor Comaroff’s
                                                  Comaroff’s argument
                                                             argument and
                                                                      and to
                                                                          to show
                                                                             show ODR
                                                                                  ODR that
                                                                                      that

my emotional
my emotional distress
             distress stemmed
                      stemmed from
                              from his
                                   his harassment
                                       harassment of
                                                  of me,
                                                     me, I| described
                                                            described in
                                                                      in my
                                                                         my reply
                                                                            reply that
                                                                                  that I| had
                                                                                          had

confided in
confided in two
            two therapists
                therapists about
                           about his
                                 his harassment.
                                     harassment. I| had
                                                    had not
                                                        not heard
                                                            heard back
                                                                  back from
                                                                       from my
                                                                            my private
                                                                               private therapist
                                                                                       therapist

about whether
about whether she
              she had
                  had session
                      session notes
                              notes from
                                    from May
                                         May 2019
                                             2019 or
                                                  or whether she had
                                                     whether she had written
                                                                     written aa statement
                                                                                statement for
                                                                                          for

me, both
me,      of which
    both of which II would
                     would want
                           want to
                                to review.
                                   review. So
                                           So II wrote
                                                 wrote in
                                                       in my
                                                          my reply
                                                             reply to
                                                                   to ODR,
                                                                      ODR, “She
                                                                           “She is
                                                                                is currently
                                                                                   currently on
                                                                                             on

vacation, but
vacation, but II believe
                 believe she
                         she has
                             has specific
                                 specific memories
                                          memories of
                                                   of our
                                                      our conversations
                                                          conversations about
                                                                        about misconduct
                                                                              misconduct in
                                                                                         in my
                                                                                            my

department, my
department, my concerns
               concerns about
                        about the
                              the damage
                                  damage Professor
                                         Professor Comaroff
                                                   Comaroff could
                                                            could do
                                                                  do to
                                                                     to my
                                                                        my career,
                                                                           career, and
                                                                                   and my
                                                                                       my



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repeated and
repeated and unfruitful
             unfruitful attempts
                        attempts to
                                 to get
                                    get assistance.
                                        assistance. She
                                                    She is
                                                        is ready
                                                           ready to
                                                                 to attest
                                                                    attest to
                                                                           to this
                                                                              this when she returns
                                                                                   when she returns

from vacation.”
from vacation.” I| was communicating to
                   was communicating to ODR
                                        ODR that
                                            that my
                                                 my therapist
                                                    therapist might
                                                              might have
                                                                    have relevant
                                                                         relevant evidence
                                                                                  evidence

and might
and might serve
          serve as
                as aa witness.
                      witness.

       39.
       39.     Had Professor
               Had Professor Comaroff
                             Comaroff not
                                      not put
                                          put my
                                              my mental
                                                 mental state
                                                        state and
                                                              and credibility
                                                                  credibility at
                                                                              at issue
                                                                                 issue in
                                                                                       in his
                                                                                          his

August 12,
August 12, 2020
           2020 response
                response to
                         to my
                            my complaint,
                               complaint, I| would
                                             would never
                                                   never have
                                                         have reached
                                                              reached out
                                                                      out to
                                                                          to my
                                                                             my therapists
                                                                                therapists and
                                                                                           and

considered them
considered them as
                as potential
                   potential witnesses.
                             witnesses.

       40.
       40.     On or
               On or about
                     about August
                           August 28,
                                  28, 2020,
                                      2020, I| was interviewed by
                                               was interviewed by ODR.
                                                                  ODR. During
                                                                       During that
                                                                              that interview,
                                                                                   interview,

we discussed the
we discussed the process
                 process of
                         of selecting
                            selecting witnesses. Ms. Povich
                                      witnesses. Ms. Povich stressed
                                                            stressed that
                                                                     that ODR
                                                                          ODR would like to
                                                                              would like to

interview witnesses
interview           who observed
          witnesses who observed or
                                 or heard
                                    heard about
                                          about the
                                                the harassment
                                                    harassment when
                                                               when it
                                                                    it was happening. Ms.
                                                                       was happening. Ms.

Povich also
Povich also stressed
            stressed that
                     that the
                          the ODR
                              ODR process
                                  process is
                                          is confidential,
                                             confidential, that
                                                           that disclosing
                                                                disclosing information
                                                                           information about
                                                                                       about my
                                                                                             my

case could
case could compromise
           compromise the
                      the integrity
                          integrity of
                                    of the
                                       the investigation
                                           investigation and
                                                         and could
                                                             could even
                                                                   even be
                                                                        be viewed
                                                                           viewed as
                                                                                  as retaliatory,
                                                                                     retaliatory,

and that
and that to
         to avoid
            avoid compromising
                  compromising the
                               the case,
                                   case, I| should
                                            should limit
                                                   limit the
                                                         the number
                                                             number of
                                                                    of people
                                                                       people in
                                                                              in whom
                                                                                 whom II confide.
                                                                                         confide.

       41.
       41.     During this
               During this meeting,
                           meeting, and
                                    and as
                                        as the
                                           the ODR
                                               ODR process
                                                   process progressed,
                                                           progressed, I| came
                                                                          came to
                                                                               to understand
                                                                                  understand

that I| would
that          need evidence
        would need evidence and
                            and witnesses to back
                                witnesses to back up
                                                  up each
                                                     each aspect
                                                          aspect of
                                                                 of my
                                                                    my allegations
                                                                       allegations against
                                                                                   against

Professor Comaroff,
Professor Comaroff, and
                    and that
                        that ODR
                             ODR would not consider
                                 would not consider my
                                                    my description
                                                       description of
                                                                   of the
                                                                      the incidents
                                                                          incidents as
                                                                                    as

sufficient to
sufficient to prove
              prove any
                    any part
                        part of
                             of my
                                my allegations.
                                   allegations. I| also
                                                   also came
                                                        came to
                                                             to understand
                                                                understand that
                                                                           that I| was
                                                                                   was not
                                                                                       not permitted
                                                                                           permitted

to contact
to contact my
           my potential
              potential witnesses and discuss
                        witnesses and discuss the
                                              the ODR
                                                  ODR process
                                                      process with them. ODR
                                                              with them. ODR repeatedly
                                                                             repeatedly told
                                                                                        told

me—including in
me—including in this
                this August
                     August 28,
                            28, 2020
                                2020 meeting—that
                                     meeting—that speaking
                                                  speaking with my witnesses
                                                           with my           could damage
                                                                   witnesses could damage

the credibility
the credibility of
                of those
                   those witnesses,
                         witnesses, which
                                    which would in turn
                                          would in turn damage
                                                        damage my
                                                               my case.
                                                                  case. ODR
                                                                        ODR did
                                                                            did not
                                                                                not explain
                                                                                    explain

whether there were
whether there were any
                   any interactions
                       interactions I| could
                                       could have
                                             have with
                                                  with my
                                                       my witnesses that were
                                                          witnesses that were appropriate.
                                                                              appropriate.

       42.
       42.     During the
               During the August
                          August 28,
                                 28, 2020
                                     2020 meeting
                                          meeting with
                                                  with ODR.
                                                       ODR. Ms.
                                                            Ms. Povich
                                                                Povich specifically
                                                                       specifically asked
                                                                                    asked me
                                                                                          me

about the
about the therapists
          therapists I| had
                        had mentioned
                            mentioned in
                                      in my
                                         my August
                                            August 24,
                                                   24, 2020
                                                       2020 reply,
                                                            reply, and
                                                                   and asked
                                                                       asked whether
                                                                             whether I| had
                                                                                        had

confided in
confided in the
            the private
                private therapist
                        therapist about
                                  about the
                                        the harassment.
                                            harassment. I| answered
                                                           answered that
                                                                    that I| had.
                                                                            had. Ms.
                                                                                 Ms. Povich
                                                                                     Povich said
                                                                                            said that
                                                                                                 that



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she
she needed
    needed the
           the therapist’s
               therapist’s contact
                           contact information
                                   information and
                                               and that
                                                   that she
                                                        she wanted
                                                            wanted me
                                                                   me to
                                                                      to put
                                                                         put the
                                                                             the therapist
                                                                                 therapist on
                                                                                           on my
                                                                                              my

witness list. Ms.
witness list. Ms. Povich
                  Povich then
                         then told
                              told me
                                   me that
                                      that I| had
                                              had too
                                                  too many
                                                      many witnesses
                                                           witnesses and
                                                                     and that
                                                                         that I| needed
                                                                                 needed to
                                                                                        to narrow
                                                                                           narrow

down my
down my list,
        list, but
              but that
                  that she
                       she definitely
                           definitely wanted
                                      wanted my
                                             my therapist
                                                therapist on
                                                          on the
                                                             the list
                                                                 list because
                                                                      because she
                                                                              she was
                                                                                  was one
                                                                                      one of
                                                                                          of the
                                                                                             the

individuals with
individuals with information
                 information she
                             she deemed
                                 deemed was
                                        was not
                                            not redundant
                                                redundant from
                                                          from that
                                                               that of
                                                                    of other
                                                                       other witnesses.
                                                                             witnesses. At
                                                                                        At the
                                                                                           the

conclusion of
conclusion of the
              the meeting,
                  meeting, I| expressed
                              expressed my
                                        my understanding
                                           understanding that
                                                         that I| could
                                                                 could not
                                                                       not contact
                                                                           contact my
                                                                                   my witnesses
                                                                                      witnesses to
                                                                                                to

ask them
ask them whether
         whether they
                 they had
                      had any
                          any relevant
                              relevant documents.
                                       documents. Ms.
                                                  Ms. Povich
                                                      Povich did
                                                             did not
                                                                 not correct
                                                                     correct me
                                                                             me and
                                                                                and said
                                                                                    said that
                                                                                         that

ODR would
ODR       ask each
    would ask each witness
                   witness whether
                           whether they
                                   they had
                                        had relevant
                                            relevant documents.
                                                     documents. I| understood
                                                                   understood this
                                                                              this to
                                                                                   to mean
                                                                                      mean

that ODR
that ODR might
         might contact
               contact my
                       my therapist
                          therapist and
                                    and ask
                                        ask her
                                            her whether
                                                whether she
                                                        she had
                                                            had relevant
                                                                relevant documents,
                                                                         documents, just as I|
                                                                                    just as

had done.
had done. I| did
             did not
                 not understand
                     understand this
                                this to
                                     to mean
                                        mean that
                                             that ODR
                                                  ODR would
                                                      would interview
                                                            interview my
                                                                      my therapist
                                                                         therapist about
                                                                                   about her
                                                                                         her

treatment of
treatment of me
             me and
                and ask
                    ask her
                        her for
                            for my
                                my medical
                                   medical records.
                                           records.

       43.
       43.     I| wanted to ask
                  wanted to ask my
                                my therapist
                                   therapist whether
                                             whether she
                                                     she had
                                                         had found
                                                             found notes
                                                                   notes from
                                                                         from May
                                                                              May 2019
                                                                                  2019 or
                                                                                       or had
                                                                                          had

written
written aa statement.
           statement. But
                      But because
                          because I| was
                                     was afraid
                                         afraid that
                                                that ODR
                                                     ODR would
                                                         would not
                                                               not credit
                                                                   credit any
                                                                          any potential
                                                                              potential

recollections from
recollections from my
                   my therapist,
                      therapist, I| stopped
                                    stopped communicating
                                            communicating with
                                                          with my
                                                               my therapist
                                                                  therapist following
                                                                            following this
                                                                                      this

August 28,
August 28, 2020
           2020 meeting
                meeting with
                        with ODR.
                             ODR. I| never
                                     never communicated
                                           communicated with
                                                        with my
                                                             my therapist
                                                                therapist again
                                                                          again following
                                                                                following

our August
our August 20,
           20, 2020
               2020 email
                    email exchange.
                          exchange.

       44,
       44.     On September
               On September 18,
                            18, 2020, Ms. Shaffer
                                2020, Ms. Shaffer emailed
                                                  emailed me,
                                                          me, “I
                                                              “I am
                                                                 am writing
                                                                    writing to
                                                                            to remind
                                                                               remind you
                                                                                      you of
                                                                                          of

ODR'’s expectation
ODR’s  expectation that
                   that both
                        both you
                             you and
                                 and Respondent
                                     Respondent will
                                                will provide us with
                                                     provide us with any
                                                                     any additional
                                                                         additional witness
                                                                                    witness

names and
names and documentation
          documentation (including
                        (including text
                                   text messages,
                                        messages, email
                                                  email messages,
                                                        messages, and
                                                                  and social
                                                                      social media
                                                                             media messages)
                                                                                   messages)

that may
that may be
         be relevant
            relevant to
                     to the
                        the investigation
                            investigation within one week.
                                          within one week. If
                                                           If there
                                                              there are
                                                                    are any
                                                                        any witnesses you feel
                                                                            witnesses you feel we
                                                                                               we

should speak
should speak to
             to or
                or documentation
                   documentation that
                                 that you
                                      you feel
                                          feel would
                                               would be
                                                     be helpful
                                                        helpful to
                                                                to the
                                                                   the investigation
                                                                       investigation that
                                                                                     that you
                                                                                          you

have not
have not already
         already provided,
                 provided, please
                           please provide
                                  provide us
                                          us this
                                             this information
                                                  information by
                                                              by the
                                                                 the close
                                                                     close of
                                                                           of business
                                                                              business on
                                                                                       on Friday,
                                                                                          Friday,

September 25.”
September 25.”




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       45.
       45.     Complying with
               Complying with the
                              the request,
                                  request, on
                                           on September
                                              September 25,
                                                        25, 2020,
                                                            2020, I| sent
                                                                     sent ODR
                                                                          ODR aa list
                                                                                 list of
                                                                                      of eight
                                                                                         eight

witnesses.
witnesses. I| put
              put each
                  each of
                       of these
                          these individuals—including
                                individuals—including my
                                                      my private
                                                         private therapist—on
                                                                 therapist—on the
                                                                              the witness
                                                                                  witness list
                                                                                          list

because Ms.
because Ms. Povich
            Povich had
                   had identified
                       identified them
                                  them as
                                       as individuals
                                          individuals who
                                                      who had
                                                          had relevant
                                                              relevant information
                                                                       information during
                                                                                   during our
                                                                                          our

August 28,
August 28, 2020
           2020 meeting.
                meeting.

       46.
       46.     Based on
               Based on my
                        my August
                           August 28,
                                  28, 2020
                                      2020 interview
                                           interview with ODR, I| expected
                                                     with ODR,    expected that
                                                                           that ODR
                                                                                ODR would
                                                                                    would

reach out
reach out to
          to my
             my therapist
                therapist and
                          and ask
                              ask her
                                  her whether she had
                                      whether she had any
                                                      any relevant
                                                          relevant notes.
                                                                   notes. I| wanted
                                                                             wanted to
                                                                                    to reach
                                                                                       reach out
                                                                                             out to
                                                                                                 to

my therapist
my therapist myself,
             myself, but
                     but because
                         because I| believed
                                    believed that
                                             that ODR
                                                  ODR would consider this
                                                      would consider this an
                                                                          an improper
                                                                             improper

communication and
communication and discredit
                  discredit my
                            my therapist’s
                               therapist’s account,
                                           account, II did
                                                       did not
                                                           not reach
                                                               reach out
                                                                     out to
                                                                         to her.
                                                                            her.

       47.
       47.     My understanding
               My understanding that
                                that I| could
                                        could not
                                              not contact
                                                  contact witnesses
                                                          witnesses without risking the
                                                                    without risking the integrity
                                                                                        integrity

of the
of the investigation
       investigation was confirmed by
                     was confirmed by another
                                      another student
                                              student who had recently
                                                      who had recently served
                                                                       served as
                                                                              as aa complainant
                                                                                    complainant

in an
in an ODR
      ODR process.
          process.

       48.
       48.     Dr. Avakian
               Dr. Avakian also
                           also confirmed
                                confirmed my
                                          my understanding
                                             understanding that
                                                           that II could
                                                                   could not
                                                                         not speak
                                                                             speak with
                                                                                   with my
                                                                                        my

witnesses.
witnesses.

       49.
       49.     Based on
               Based on this,
                        this, and
                              and the
                                  the warnings ODR had
                                      warnings ODR had given
                                                       given me,
                                                             me, I| was
                                                                    was very
                                                                        very afraid
                                                                             afraid to
                                                                                    to

accidentally compromise
accidentally compromise the
                        the investigation.
                            investigation. I| repeatedly
                                              repeatedly explained
                                                         explained to
                                                                   to ODR
                                                                      ODR that
                                                                          that all
                                                                               all three
                                                                                   three of
                                                                                         of my
                                                                                            my

dissertation committee
dissertation committee members
                       members (Professor
                               (Professor Nicholas
                                          Nicholas Harkness,
                                                   Harkness, Professor
                                                             Professor George
                                                                       George Meiu,
                                                                              Meiu, and
                                                                                    and

Professor Ajantha
Professor Ajantha Subramanian)
                  Subramanian) had
                               had been
                                   been called
                                        called as
                                               as witnesses, and that
                                                  witnesses, and that without having
                                                                      without having

substantial contact
substantial contact with
                    with them
                         them I| could
                                 could not
                                       not progress
                                           progress in
                                                    in my
                                                       my degree.
                                                          degree. ODR
                                                                  ODR offered
                                                                      offered no
                                                                              no solutions.
                                                                                 solutions. I|

therefore had
therefore had limited
              limited formal
                      formal academic
                             academic guidance
                                      guidance for
                                               for the
                                                   the entire
                                                       entire year
                                                              year during
                                                                   during which
                                                                          which ODR
                                                                                ODR conducted
                                                                                    conducted

its investigation
its investigation and
                  and had
                      had to
                          to delay
                             delay my
                                   my exams,
                                      exams, all
                                             all because
                                                 because ODR
                                                         ODR had
                                                             had imparted
                                                                 imparted on
                                                                          on me
                                                                             me that
                                                                                that

contacting witnesses
contacting witnesses would
                     would infect
                           infect their
                                  their process.
                                        process. I| felt
                                                    felt helpless
                                                         helpless and
                                                                  and isolated.
                                                                      isolated.

       50.
       50.     Throughout the
               Throughout the summer
                              summer of
                                     of 2020,
                                        2020, I| had
                                                 had developed
                                                     developed symptoms
                                                               symptoms of
                                                                        of what
                                                                           what would later
                                                                                would later

be diagnosed
be diagnosed as
             as aa serious
                   serious health
                           health condition
                                  condition requiring
                                            requiring significant
                                                      significant medical
                                                                  medical attention.
                                                                          attention.



                                                 12
                                                 12
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       51.
       51.     On October
               On October 30,
                          30, 2020,
                              2020, II received
                                       received an
                                                an email
                                                   email from
                                                         from Ms.
                                                              Ms. Shaffer,
                                                                  Shaffer, who
                                                                           who informed
                                                                               informed me
                                                                                        me

that
that ODR
     ODR had
         had “held
             “held three
                   three witness
                         witness interviews”
                                 interviews” that
                                             that week
                                                  week and attached “four
                                                       and attached “four documents
                                                                          documents that were
                                                                                    that were

submitted in
submitted in this
             this matter.”
                  matter.” Two
                           Two of
                               of the
                                  the documents
                                      documents she
                                                she attached
                                                    attached to
                                                             to her
                                                                her email
                                                                    email were progress notes
                                                                          were progress notes

from my
from my sessions
        sessions with
                 with my
                      my private
                         private therapist;
                                 therapist; one
                                            one note
                                                note was
                                                     was dated
                                                         dated March
                                                               March 6,
                                                                     6, 2019
                                                                        2019 and
                                                                             and the
                                                                                 the other
                                                                                     other was
                                                                                           was

dated March
dated March 20,
            20, 2019.
                2019. In
                      In both
                         both notes,
                              notes, my
                                     my name
                                        name and
                                             and birthday
                                                 birthday were redacted. The
                                                          were redacted. The March
                                                                             March 20,
                                                                                   20, 2019
                                                                                       2019

note contained
note contained additional
               additional redactions
                          redactions within
                                     within the
                                            the body
                                                body of
                                                     of the
                                                        the note,
                                                            note, denoted
                                                                  denoted with
                                                                          with “[…]”.
                                                                               “[...]”. II did
                                                                                           did not
                                                                                               not

know what
know what was
          was within that omitted
              within that omitted text;
                                  text; all
                                        all Ms.
                                            Ms. Shaffer
                                                Shaffer indicated
                                                        indicated was
                                                                  was the
                                                                      the documents
                                                                          documents were
                                                                                    were

redacted for
redacted for “privacy
             “privacy reasons.”
                      reasons.” Ex.
                                EX. 7.
                                    7.

       52.
       52.     I| was surprised and
                  was surprised and upset
                                    upset to
                                          to be
                                             be receiving
                                                receiving these
                                                          these two
                                                                two progress
                                                                    progress notes.
                                                                             notes. I| had
                                                                                       had asked
                                                                                           asked my
                                                                                                 my

therapist whether
therapist         she had
          whether she had notes
                          notes from
                                from May
                                     May 2019,
                                         2019, and
                                               and to
                                                   to write
                                                      write aa statement
                                                               statement for
                                                                         for me.
                                                                             me. I| did
                                                                                    did not
                                                                                        not

complain to
complain to ODR
            ODR because
                because I| did
                           did not
                               not know
                                   know at
                                        at the
                                           the time
                                               time that
                                                    that Ms.
                                                         Ms. Shaffer
                                                             Shaffer had
                                                                     had also
                                                                         also sent
                                                                              sent these
                                                                                   these two
                                                                                         two

progress notes
progress notes to
               to Professor
                  Professor Comaroff,
                            Comaroff, and
                                      and because
                                          because I| was very busy
                                                     was very busy working on aa grant
                                                                   working on    grant

application, aa necessary
application,    necessary part
                          part of
                               of making
                                  making progress
                                         progress towards
                                                  towards my
                                                          my degree.
                                                             degree.

       53.
       53.     On January
               On January 5,
                          5, 6,
                             6, and
                                and 7,
                                    7, 2021,
                                       2021, II met
                                                met with
                                                    with ODR
                                                         ODR for
                                                             for “review
                                                                 “review of
                                                                         of evidence”
                                                                            evidence” meetings,
                                                                                      meetings,

in which
in which ODR
         ODR orally
             orally described
                    described to
                              to me
                                 me some
                                    some of
                                         of the
                                            the evidence
                                                evidence it
                                                         it had
                                                            had gathered
                                                                gathered in
                                                                         in the
                                                                            the course
                                                                                course of
                                                                                       of

investigating my
investigating my complaint.
                 complaint.

       54.
       54.     In these
               In these meetings,
                        meetings, I| learned
                                     learned that
                                             that ODR
                                                  ODR had
                                                      had interviewed
                                                          interviewed my
                                                                      my therapist
                                                                         therapist extensively
                                                                                   extensively in
                                                                                               in

October 2020,
October 2020, not
              not only
                  only about
                       about what
                             what documentation
                                  documentation she
                                                she might
                                                    might have,
                                                          have, but
                                                                but also
                                                                    also what
                                                                         what I| had
                                                                                 had discussed
                                                                                     discussed

with her in
with her in therapy.
            therapy. ODR
                     ODR had
                         had also
                             also asked
                                  asked my
                                        my therapist
                                           therapist about
                                                     about issues
                                                           issues unrelated
                                                                  unrelated to
                                                                            to Professor
                                                                               Professor

Comaroff’s harassment
Comaroff’s harassment of
                      of me.
                         me. During
                             During the
                                    the review
                                        review of
                                               of evidence
                                                  evidence meetings,
                                                           meetings, ODR
                                                                     ODR questioned
                                                                         questioned me
                                                                                    me

about the
about the highly
          highly personal
                 personal issues
                          issues I| had
                                    had discussed
                                        discussed in
                                                  in therapy,
                                                     therapy, and
                                                              and admitted
                                                                  admitted that
                                                                           that these
                                                                                these issues
                                                                                      issues were
                                                                                             were

unrelated to
unrelated to my
             my case.
                case. I| was
                         was confused
                             confused at
                                      at the
                                         the time
                                             time why ODR would
                                                  why ODR would question
                                                                question me
                                                                         me about
                                                                            about sensitive
                                                                                  sensitive

personal topics
personal topics unrelated
                unrelated to
                          to my
                             my case.
                                case. But
                                      But when
                                          when I| was read aloud
                                                  was read aloud portions
                                                                 portions of
                                                                          of ODR’s
                                                                             ODR’s interview
                                                                                   interview



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                                                13
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with
with my
     my therapist,
        therapist, II understood
                      understood that
                                 that ODR’s
                                      ODR’s questions
                                            questions to
                                                      to me
                                                         me must
                                                            must have been grounded
                                                                 have been grounded in
                                                                                    in the
                                                                                       the

portions of
portions of the
            the March
                March 20,
                      20, 2019
                          2019 progress
                               progress note
                                        note that
                                             that been
                                                  been redacted,
                                                       redacted, the
                                                                 the full
                                                                     full contents
                                                                          contents of
                                                                                   of which
                                                                                      which II had
                                                                                               had

not seen.
not seen. Ex.
          Ex. 8.
              8.

       55.
       55.     I| also
                  also understood
                       understood that
                                  that ODR
                                       ODR was
                                           was sharing
                                               sharing only
                                                       only excerpts
                                                            excerpts of
                                                                     of their
                                                                        their interview
                                                                              interview with
                                                                                        with my
                                                                                             my

therapist in
therapist in my
             my evidence
                evidence review
                         review meetings.
                                meetings. I| wondered
                                             wondered what
                                                      what else
                                                           else ODR
                                                                ODR and
                                                                    and my
                                                                        my therapist
                                                                           therapist had
                                                                                     had

discussed in
discussed in the
             the interview
                 interview and
                           and whether
                               whether I| would ever know.
                                          would ever know.

       56.
       56.     After hearing
               After hearing about
                             about ODR’s
                                   ODR’s interview
                                         interview with
                                                   with my
                                                        my therapist,
                                                           therapist, II felt
                                                                         felt very
                                                                              very upset.
                                                                                   upset. I| had
                                                                                             had

not anticipated
not anticipated that
                that ODR
                     ODR would interview my
                         would interview my therapist
                                            therapist about
                                                      about the
                                                            the contents
                                                                contents of
                                                                         of what
                                                                            what II shared
                                                                                    shared with
                                                                                           with

her during
her during our
           our sessions.
               sessions. I| was extremely overwhelmed,
                            was extremely overwhelmed, and
                                                       and did
                                                           did not
                                                               not know
                                                                   know how
                                                                        how to
                                                                            to communicate
                                                                               communicate to
                                                                                           to

ODR that
ODR that I| was
            was not
                not comfortable
                    comfortable with the extent
                                with the extent to
                                                to which they had
                                                   which they had interviewed
                                                                  interviewed my
                                                                              my therapist.
                                                                                 therapist.

       57.
       57.     At this point,
               At this point, I| did
                                 did not
                                     not know
                                         know that
                                              that ODR
                                                   ODR had
                                                       had shared
                                                           shared my
                                                                  my therapy
                                                                     therapy records
                                                                             records with
                                                                                     with

Professor Comaroff.
Professor Comaroff. At
                    At the
                       the end
                           end of
                               of our
                                  our review
                                      review of
                                             of evidence
                                                evidence meetings,
                                                         meetings, ODR
                                                                   ODR simply
                                                                       simply said
                                                                              said they
                                                                                   they

would have aa similar
would have    similar meeting
                      meeting with
                              with Professor
                                   Professor Comaroff
                                             Comaroff to
                                                      to review
                                                         review evidence.
                                                                evidence. Ex.
                                                                          Ex. 8.
                                                                              8. I| believed
                                                                                    believed that
                                                                                             that

ODR would
ODR would read
          read Professor
               Professor Comaroff
                         Comaroff select
                                  select excerpts
                                         excerpts of
                                                  of their
                                                     their interview
                                                           interview with my therapist,
                                                                     with my therapist, as
                                                                                        as they
                                                                                           they

had done
had done in
         in my
            my review
               review of
                      of evidence
                         evidence meeting.
                                  meeting.

       58.
       58.     On May
               On May 10,
                      10, 2021,
                          2021, ODR
                                ODR sent
                                    sent me
                                         me the
                                            the Draft
                                                Draft Report
                                                      Report of
                                                             of its
                                                                its findings
                                                                    findings regarding
                                                                             regarding its
                                                                                       its

investigation into
investigation into my
                   my complaint.
                      complaint. In
                                 In the
                                    the cover
                                        cover email
                                              email attaching
                                                    attaching the
                                                              the Draft
                                                                  Draft Report,
                                                                        Report, ODR
                                                                                ODR had
                                                                                    had written,
                                                                                        written,

“The documents
“The documents referenced
               referenced in
                          in the
                             the draft
                                 draft Report
                                       Report were
                                              were already
                                                   already provided
                                                           provided by
                                                                    by you
                                                                       you or
                                                                           or to
                                                                              to you
                                                                                 you during
                                                                                     during

the investigation,
the investigation, and
                   and will
                       will be
                            be attached
                               attached as
                                        as exhibits
                                           exhibits to
                                                    to the
                                                       the Final
                                                           Final Report.”
                                                                 Report.” When
                                                                          When I| read
                                                                                  read the
                                                                                       the Draft
                                                                                           Draft

Report, I| saw
Report,    saw that
               that the
                    the report
                        report listed
                               listed my
                                      my therapist
                                         therapist as
                                                   as one
                                                      one of
                                                          of the
                                                             the witnesses
                                                                 witnesses interviewed
                                                                           interviewed and
                                                                                       and noted
                                                                                           noted

that she
that she had
         had provided
             provided two
                      two progress
                          progress notes
                                   notes to
                                         to ODR.
                                            ODR. But
                                                 But the
                                                     the remainder
                                                         remainder of
                                                                   of the
                                                                      the Draft
                                                                          Draft Report
                                                                                Report

contained no
contained no discussion
             discussion of
                        of the
                           the content
                               content of
                                       of her
                                          her interview
                                              interview or
                                                        or the
                                                           the progress
                                                               progress notes,
                                                                        notes, so
                                                                               so II concluded
                                                                                     concluded that
                                                                                               that




                                                14
                                                14
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ODR must
ODR must not
         not have
             have relied
                  relied on
                         on her
                            her progress
                                progress notes
                                         notes or
                                               or interview
                                                  interview to
                                                            to draft
                                                               draft the
                                                                     the report
                                                                         report and
                                                                                and that
                                                                                    that they
                                                                                         they

would therefore not
would therefore not be
                    be exhibits
                       exhibits to
                                to the
                                   the Final
                                       Final Report.
                                             Report.

       59.
       59.     In
               In its
                  its Draft
                      Draft Report,
                            Report, ODR
                                    ODR found
                                        found that
                                              that Professor
                                                   Professor Comaroff
                                                             Comaroff had
                                                                      had “over
                                                                          “over the
                                                                                the course
                                                                                    course of
                                                                                           of

approximately
approximately five
              five minutes”
                   minutes” repeatedly
                            repeatedly described
                                       described how
                                                 how II “would
                                                        “would be
                                                               be raped”,
                                                                  raped”, but
                                                                          but as
                                                                              as to
                                                                                 to his
                                                                                    his repeated
                                                                                        repeated

physical harassment
physical harassment of
                    of me,
                       me, including
                           including kissing
                                     kissing and
                                             and groping
                                                 groping me,
                                                         me, ODR
                                                             ODR found
                                                                 found no
                                                                       no violation
                                                                          violation of
                                                                                    of

Harvard policy.
Harvard policy. I| was
                   was very
                       very upset
                            upset by
                                  by the
                                     the conclusions
                                         conclusions ODR
                                                     ODR reached
                                                         reached in
                                                                 in the
                                                                    the Draft
                                                                        Draft Report.
                                                                              Report.

       60.
       60.     ODR invited
               ODR invited both
                           both parties
                                parties to
                                        to write
                                           write aa response
                                                    response to
                                                             to the
                                                                the Draft
                                                                    Draft Report
                                                                          Report within one week.
                                                                                 within one week.

That wasn’t
That wasn’t nearly
            nearly enough
                   enough time
                          time to
                               to digest
                                  digest and
                                         and respond
                                             respond to
                                                     to the
                                                        the 55-page
                                                            55-page Draft
                                                                    Draft Report;
                                                                          Report; I| was
                                                                                     was

working full-time, teaching
working full-time, teaching at
                            at two
                               two universities
                                   universities and
                                                and trying
                                                    trying to
                                                           to make
                                                              make progress
                                                                   progress on
                                                                            on my
                                                                               my degree,
                                                                                  degree, which
                                                                                          which

was very difficult
was very difficult because
                   because I| could
                              could not
                                    not rely
                                        rely on
                                             on the
                                                the only
                                                    only three
                                                         three professors
                                                               professors at
                                                                          at Harvard
                                                                             Harvard who
                                                                                     who studied
                                                                                         studied

my subject
my subject area,
           area, Professors
                 Professors John
                            John and
                                 and Jean
                                     Jean Comaroff,
                                          Comaroff, and
                                                    and their
                                                        their advisee
                                                              advisee George
                                                                      George Meiu,
                                                                             Meiu, who
                                                                                   who had
                                                                                       had

made it
made it clear
        clear to
              to me
                 me that
                    that his
                         his close
                             close relationship
                                   relationship with
                                                with Professor
                                                     Professor Jean
                                                               Jean Comaroff
                                                                    Comaroff would
                                                                             would prevent
                                                                                   prevent him
                                                                                           him

from being
from being able
           able to
                to support
                   support me.
                           me.

       61.
       61.     I| submitted
                  submitted my
                            my response
                               response on
                                        on June
                                           June 14,
                                                14, 2021.
                                                    2021. I| tried
                                                             tried to
                                                                   to focus
                                                                      focus my
                                                                            my response
                                                                               response on
                                                                                        on the
                                                                                           the

reasons I| thought
reasons    thought ODR
                   ODR had
                       had erred
                           erred by
                                 by reaching
                                    reaching the
                                             the conclusion
                                                 conclusion that
                                                            that Professor
                                                                 Professor Comaroff
                                                                           Comaroff had
                                                                                    had not
                                                                                        not

physically harassed
physically harassed me.
                    me.

       62.
       62.     On August
               On August 27,
                         27, 2021,
                             2021, ODR
                                   ODR sent
                                       sent me
                                            me aa copy
                                                  copy of
                                                       of its
                                                          its Final
                                                              Final Report.
                                                                    Report. There
                                                                            There were
                                                                                  were only
                                                                                       only

minor differences
minor differences between
                  between the
                          the Draft
                              Draft Report
                                    Report and
                                           and Final
                                               Final Report
                                                     Report and
                                                            and the
                                                                the overall
                                                                    overall conclusions
                                                                            conclusions were
                                                                                        were

unchanged.
unchanged.

       63.
       63.     Professor Comaroff’s
               Professor Comaroff’s response
                                    response to
                                             to the
                                                the Draft
                                                    Draft Report
                                                          Report was
                                                                 was attached
                                                                     attached as
                                                                              as one
                                                                                 one of
                                                                                     of the
                                                                                        the

exhibits to
exhibits to the
            the Final
                Final Report.
                      Report. At
                              At the
                                 the time,
                                     time, I| did
                                              did not
                                                  not read
                                                      read it
                                                           it closely;
                                                              closely; my
                                                                       my health
                                                                          health had
                                                                                 had started
                                                                                     started to
                                                                                             to further
                                                                                                further

deteriorate. I| was
deteriorate.    was doing
                    doing my
                          my best
                             best to
                                  to get
                                     get the
                                         the care
                                             care I| needed,
                                                     needed, while keeping up
                                                             while keeping up with
                                                                              with my
                                                                                   my work
                                                                                      work at
                                                                                           at

Harvard and
Harvard and the
            the demands
                demands of
                        of the
                           the ODR
                               ODR process.
                                   process.



                                                  15
                                                  15
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       64.
       64.     The Final
               The Final Report
                         Report indicated
                                indicated that
                                          that the
                                               the parties
                                                   parties had
                                                           had one
                                                               one week to appeal
                                                                   week to appeal ODR’s
                                                                                  ODR’s

findings to
findings to the
            the Office
                Office for
                       for Gender
                           Gender Equity
                                  Equity (“OGE”).
                                         (“OGE”). As
                                                  As I| received
                                                        received the
                                                                 the report
                                                                     report at
                                                                            at the
                                                                               the beginning
                                                                                   beginning of
                                                                                             of

the fall
the fall 2021
         2021 semester,
              semester, I| was
                           was very
                               very busy
                                    busy preparing
                                         preparing for
                                                   for my
                                                       my fieldwork
                                                          fieldwork and
                                                                    and trying
                                                                        trying to
                                                                               to make
                                                                                  make progress
                                                                                       progress

on my
on my degree.
      degree. I| was also busy
                 was also busy managing
                               managing my
                                        my symptoms
                                           symptoms and
                                                    and attempting
                                                        attempting to
                                                                   to get
                                                                      get aa diagnosis
                                                                             diagnosis from
                                                                                       from

medical specialists.
medical specialists. One
                     One week
                         week was
                              was not
                                  not nearly
                                      nearly enough
                                             enough time
                                                    time to
                                                         to review
                                                            review the
                                                                   the Final
                                                                       Final Report
                                                                             Report and
                                                                                    and the
                                                                                        the

hundreds of
hundreds of pages
            pages of
                  of exhibits
                     exhibits appended
                              appended to
                                       to the
                                          the Final
                                              Final Report.
                                                    Report.

       65.
       65.     On August
               On August 28,
                         28, 2021,
                             2021, one
                                   one day
                                       day after
                                           after I| received
                                                    received the
                                                             the report,
                                                                 report, my
                                                                         my wife
                                                                            wife and
                                                                                 and I| had
                                                                                        had to
                                                                                            to

move apartments
move apartments to
                to better
                   better accommodate
                          accommodate the
                                      the symptoms
                                          symptoms I| was experiencing.
                                                      was experiencing.

       66.
       66.     On August
               On        30, 2021,
                  August 30, 2021, I| was admitted to
                                      was admitted to the
                                                      the ER
                                                          ER for
                                                             for symptoms
                                                                 symptoms related
                                                                          related to
                                                                                  to my
                                                                                     my health
                                                                                        health

condition.
condition.

       67.
       67.     While working
               While working and
                             and studying
                                 studying full-time,
                                          full-time, and
                                                     and dealing
                                                         dealing with
                                                                 with aa move
                                                                         move and
                                                                              and debilitating
                                                                                  debilitating

health issues,
health issues, I| did
                  did my
                      my best
                         best to
                              to draft
                                 draft an
                                       an appeal
                                          appeal that
                                                 that focused
                                                      focused on
                                                              on the
                                                                 the overall
                                                                     overall errors
                                                                             errors ODR
                                                                                    ODR had
                                                                                        had made
                                                                                            made in
                                                                                                 in

its process
its process and
            and conclusions.
                conclusions. I| submitted
                                submitted the
                                          the appeal
                                              appeal to
                                                     to Nicole
                                                        Nicole Merhill
                                                               Merhill on
                                                                       on September
                                                                          September 3,
                                                                                    3, 2021.
                                                                                       2021. Ex.
                                                                                             Ex.

9.
9.

       68.
       68.     At this point,
               At this point, II did
                                 did not
                                     not realize
                                         realize that
                                                 that ODR
                                                      ODR had
                                                          had appended
                                                              appended the
                                                                       the March
                                                                           March 66 and
                                                                                    and 20,
                                                                                        20, 2019
                                                                                            2019

progress notes
progress notes as
               as Exhibits
                  Exhibits to
                           to the
                              the Final
                                  Final Report.
                                        Report. Like
                                                Like the
                                                     the Draft
                                                         Draft Report,
                                                               Report, the
                                                                       the Final
                                                                           Final Report
                                                                                 Report did
                                                                                        did not
                                                                                            not

rely on
rely on the
        the interview
            interview and
                      and notes
                          notes from
                                from my
                                     my therapist.
                                        therapist.

       69.
       69.     On September
               On September 22,
                            22, 2021,
                                2021, I| finally
                                         finally had
                                                 had an
                                                     an opportunity
                                                        opportunity to
                                                                    to read
                                                                       read more
                                                                            more closely
                                                                                 closely the
                                                                                         the

response Professor
response Professor Comaroff
                   Comaroff had
                            had written
                                written to
                                        to the
                                           the Draft
                                               Draft Report.
                                                     Report. Ex.
                                                             Ex. 10.
                                                                 10. I| was extremely disturbed
                                                                        was extremely disturbed

by it.
by it. He
       He argued
          argued that
                 that my
                      my PTSD
                         PTSD diagnosis—which
                              diagnosis—which II received
                                                 received as
                                                          as a
                                                             a result
                                                               result of
                                                                      of his
                                                                         his harassment—made
                                                                             harassment—made

my memory
my memory unreliable
          unreliable and
                     and my
                         my report
                            report of
                                   of harassment
                                      harassment incredible.
                                                 incredible. Even
                                                             Even though
                                                                  though he
                                                                         he is
                                                                            is not
                                                                               not aa medical
                                                                                      medical

doctor, he
doctor, he described
           described the
                     the symptoms
                         symptoms of
                                  of PTSD
                                     PTSD at
                                          at length,
                                             length, concluding,
                                                     concluding,

       PTSD can
       PTSD    can have
                   have long-term
                         long-term effects
                                    effects including
                                             including causing
                                                       causing people
                                                               people toto interpret
                                                                           interpret innocuous
                                                                                     innocuous
       stimuli as
       stimuli  as threatening.
                   threatening. When
                                 When it it comes
                                            comes to
                                                   to memory,
                                                      memory, itit is
                                                                   is characteristic
                                                                      characteristic of
                                                                                      of people
                                                                                         people


                                                 16
                                                 16
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       with    PTSD that
       with PTSD         that they
                               they may
                                     may over-remember
                                              over-remember traumatic traumatic events,
                                                                                    events, adding
                                                                                                 adding details
                                                                                                             details that
                                                                                                                      that did
                                                                                                                            did
       not, in
       not,   in fact,
                 fact, take
                         take place.
                                place. .. .. .. [Ms.
                                                [Ms. Kilburn’s]
                                                        Kilburn’s] therapist’s
                                                                        therapist’s notes
                                                                                        notes suggest
                                                                                                   suggest strongly
                                                                                                               strongly that,
                                                                                                                          that,
       in fact,
       in  fact, her
                   her history
                         history may
                                   may have
                                          have profoundly
                                                    profoundly affected
                                                                     affected thethe accuracy
                                                                                       accuracy of      of her
                                                                                                            her perceptions
                                                                                                                  perceptions
       of her
       of   her encounters
                 encounters and   and interactions
                                        interactions not     not only
                                                                  only with
                                                                          with me,me, butbut with
                                                                                               with the  the anthropology
                                                                                                               anthropology
       department and
       department        and with
                               with Harvard
                                      Harvard generally.
                                                     generally. .. .. .. ItIt seems
                                                                              seems highly
                                                                                        highly likely,
                                                                                                     likely, in in short,
                                                                                                                   short, that
                                                                                                                           that
       [Complainant]’s PTSD
       [Complainant]’s           PTSD and   and history
                                                     history of  of trauma
                                                                      trauma affected
                                                                                  affected the    the accuracy
                                                                                                          accuracy of  of her
                                                                                                                            her
       perceptions of
       perceptions        of my
                             my behavior
                                   behavior duringduring our our interactions
                                                                   interactions as  as well
                                                                                         well as as her
                                                                                                      her memories
                                                                                                             memories of  of itit
       after the fact. The draft report does not address this issue; it omits any mention of
       after   the  fact.   The   draft  report      does    not  address     this  issue;    it  omits     any   mention    of
       her
       her therapist’s
             therapist’s testimony
                             testimony and   and records.
                                                    records. II understand
                                                                    understand that  that addressing
                                                                                            addressing issues  issues related
                                                                                                                       related
       to [Complainant]’s
       to   [Complainant]’s mental  mental healthhealth is is delicate
                                                               delicate and and difficult
                                                                                 difficult for  for an an investigator,
                                                                                                            investigator, as  as
       indeed it
       indeed     it is
                      is for
                         for me.
                              me. But
                                    But [Complainant]
                                          [Complainant] has       has put
                                                                        put questions
                                                                              questions about about her  her mental
                                                                                                              mental health
                                                                                                                        health
       and perceptual
       and    perceptual accuracy
                             accuracy into  into the
                                                   the record.
                                                         record. It It is
                                                                       is impossible
                                                                          impossible to     to meaningfully
                                                                                                 meaningfully evaluate
                                                                                                                     evaluate
       her credibility,
       her   credibility, or or my
                                 my responsibility,
                                      responsibility, without            addressing this
                                                              without addressing          this major
                                                                                                 major issue.
                                                                                                            issue.

       70.
       70.        He went
                  He went on
                          on to
                             to say
                                say that
                                    that it
                                         it would
                                            would not
                                                  not be
                                                      be “rational”
                                                         “rational” to
                                                                    to believe
                                                                       believe my
                                                                               my account,
                                                                                  account, and
                                                                                           and that
                                                                                               that

certain passages
certain          of my
        passages of my therapist’s
                       therapist’s notes
                                   notes could
                                         could indicate
                                               indicate II was
                                                           was simply
                                                               simply “misinterpreting
                                                                      “misinterpreting innocuous
                                                                                       innocuous

conduct.”
conduct.” Ex.
          EX. 10.
              10.

       71.
       71.        I| was stunned reading
                     was stunned reading Professor
                                         Professor Comaroff’s
                                                   Comaroff’s response
                                                              response to
                                                                       to the
                                                                          the Draft
                                                                              Draft Report.
                                                                                    Report. This
                                                                                            This is
                                                                                                 is

when
when I| learned
        learned that
                that ODR
                     ODR had
                         had given
                             given Professor
                                   Professor Comaroff
                                             Comaroff the
                                                      the two
                                                          two progress
                                                              progress notes,
                                                                       notes, and
                                                                              and shared
                                                                                  shared with
                                                                                         with

him excerpts
him excerpts of
             of ODR’s
                ODR’s interview
                      interview with
                                with my
                                     my therapist.
                                        therapist. And
                                                   And Professor
                                                       Professor Comaroff
                                                                 Comaroff was using those
                                                                          was using those

notes and
notes and the
          the interview
              interview to
                        to argue
                           argue that
                                 that I| had
                                         had invented
                                             invented his
                                                      his harassment
                                                          harassment and
                                                                     and that
                                                                         that my
                                                                              my mental
                                                                                 mental state
                                                                                        state

made me
made me unreliable—even
        unreliable—even though
                        though I| had
                                  had begun
                                      begun seeing
                                            seeing my
                                                   my therapist
                                                      therapist and
                                                                and received
                                                                    received aa PTSD
                                                                                PTSD

diagnosis precisely
diagnosis precisely because
                    because of
                            of his
                               his harassment.
                                   harassment.

       72.
       72.        I| wanted to alert
                     wanted to alert the
                                     the appeals
                                         appeals committee
                                                 committee immediately.
                                                           immediately. The
                                                                        The following
                                                                            following day,
                                                                                      day, on
                                                                                           on

September 23,
September 23, I| emailed
                 emailed OGE
                         OGE to
                             to ask
                                ask whether
                                    whether I| could
                                               could submit
                                                     submit further
                                                            further information
                                                                    information to
                                                                                to the
                                                                                   the appeals
                                                                                       appeals

panel. OGE denied
panel. OGE denied my
                  my request,
                     request, writing,
                              writing, “The
                                       “The FAS
                                            FAS Procedures
                                                Procedures provide,
                                                           provide, ‘Appeals
                                                                    ‘Appeals must
                                                                             must be
                                                                                  be

received by
received by the
            the Office
                Office for
                       for Gender
                           Gender Equity
                                  Equity (University
                                         (University Title
                                                     Title IX
                                                           IX Coordinator
                                                              Coordinator Nicole
                                                                          Nicole Merhill.
                                                                                 Merhill. .. ..))

within one week
within one      of the
           week of the date
                       date of
                            of this
                               this Final
                                    Final Report.’
                                          Report.” As
                                                   As this
                                                      this deadline
                                                           deadline has
                                                                    has now
                                                                        now passed,
                                                                            passed, we
                                                                                    we are
                                                                                       are unable
                                                                                           unable

to accept
to accept further
          further appeal
                  appeal documents
                         documents or
                                   or information
                                      information from
                                                  from either
                                                       either party
                                                              party in
                                                                    in this
                                                                       this matter.”
                                                                            matter.” Ex.
                                                                                     EX. 9.
                                                                                         9. On
                                                                                            On

September 29,
September 29, 2021,
              2021, OGE
                    OGE denied
                        denied my
                               my appeal.
                                  appeal. Ex.
                                          Ex. 11.
                                              11.



                                                                  17
                                                                  17
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        73.
        73.     By this
                By this time,
                        time, I| had
                                 had retained
                                     retained the
                                              the law
                                                  law firm
                                                      firm Sanford
                                                           Sanford Heisler
                                                                   Heisler Sharp,
                                                                           Sharp, LLP
                                                                                  LLP to
                                                                                      to represent
                                                                                         represent

me in
me in my
      my claims
         claims against
                against Harvard.
                        Harvard.

        74.
        74.     On September
                On September 28,
                             28, 2021,
                                 2021, my
                                       my counsel
                                          counsel wrote
                                                  wrote aa letter
                                                           letter to
                                                                  to Eileen
                                                                     Eileen Finan,
                                                                            Finan, aa lawyer
                                                                                      lawyer in
                                                                                             in

Harvard’s
Harvard’s Office
          Office of the General
                 of the General Counsel.
                                Counsel. In
                                         In the
                                            the letter,
                                                letter, my
                                                        my counsel
                                                           counsel explained
                                                                   explained that
                                                                             that “The unlawful
                                                                                  “The unlawful

receipt, use,
receipt,      and disclosure
         use, and disclosure of
                             of Ms.
                                Ms. Kilburn’s
                                    Kilburn’s medical
                                              medical records
                                                      records give
                                                              give rise
                                                                   rise to
                                                                        to additional
                                                                           additional claims
                                                                                      claims of
                                                                                             of

retaliation under
retaliation under Title
                  Title IX
                        1X and
                           and Massachusetts
                               Massachusetts law
                                             law as
                                                 as well as liability
                                                    well as liability for
                                                                      for breach
                                                                          breach of
                                                                                 of therapist-
                                                                                    therapist-

patient confidentiality
patient confidentiality and
                        and the
                            the right
                                right of
                                      of privacy
                                         privacy under
                                                 under Massachusetts
                                                       Massachusetts law.
                                                                     law. .. .. .. Further,
                                                                                   Further, the
                                                                                            the fact
                                                                                                fact that
                                                                                                     that

anyone who
anyone who has
           has received
               received the
                        the Final
                            Final Report
                                  Report —– including
                                            including Harvard
                                                      Harvard professors,
                                                              professors, deans,
                                                                          deans, and
                                                                                 and

administrators who
administrators who supervise
                   supervise Ms.
                             Ms. Kilburn
                                 Kilburn and
                                         and have
                                             have significant
                                                  significant influence
                                                              influence over
                                                                        over her
                                                                             her career
                                                                                 career

trajectory —– is
trajectory    is now
                 now aware
                     aware of
                           of Ms.
                              Ms. Kilburn’s private medical
                                  Kilburn’s private medical information
                                                            information has
                                                                        has caused
                                                                            caused Ms.
                                                                                   Ms. Kilburn
                                                                                       Kilburn

additional emotional
additional emotional and
                     and reputational
                         reputational harm.”
                                      harm.” My
                                             My counsel
                                                counsel requested
                                                        requested that
                                                                  that Harvard
                                                                       Harvard not
                                                                               not further
                                                                                   further

disclose my
disclose my medical
            medical records;
                    records; inform
                             inform my
                                    my counsel
                                       counsel of
                                               of individuals
                                                  individuals who have received
                                                              who have received aa copy
                                                                                   copy of
                                                                                        of my
                                                                                           my

medical records;
medical records; instruct
                 instruct these
                          these individuals
                                individuals to
                                            to turn
                                               turn over
                                                    over the
                                                         the records
                                                             records to
                                                                     to Harvard’s
                                                                        Harvard’s general
                                                                                  general counsel’s
                                                                                          counsel’s

office without
office without retaining
               retaining copies;
                         copies; and
                                 and provide
                                     provide me
                                             me with an unredacted
                                                with an unredacted copy
                                                                   copy of
                                                                        of my
                                                                           my medical
                                                                              medical records.
                                                                                      records.

        75.
        75.     On October
                On October 7,
                           7, 2021,
                              2021, Harvard
                                    Harvard rejected
                                            rejected these
                                                     these requests
                                                           requests in
                                                                    in aa letter
                                                                          letter to
                                                                                 to my
                                                                                    my counsel.
                                                                                       counsel.

        76.
        76.     At this point,
                At this point, II did
                                  did not
                                      not know
                                          know how
                                               how many
                                                   many Harvard
                                                        Harvard faculty
                                                                faculty and
                                                                        and administrators
                                                                            administrators had
                                                                                           had

received the
received the Final
             Final Report
                   Report and
                          and attached
                              attached exhibits.
                                       exhibits.

        77.
        77.     On February
                On February 8,
                            8, 2021,
                               2021, Ms.
                                     Ms. Czerwienski,
                                         Czerwienski, Ms.
                                                      Ms. Mandava,
                                                          Mandava, and
                                                                   and I1 initiated
                                                                          initiated the
                                                                                    the above-
                                                                                        above-

captioned lawsuit.
captioned lawsuit. Count
                   Count Ten
                         Ten alleges
                             alleges that
                                     that Harvard
                                          Harvard illegally
                                                  illegally obtained
                                                            obtained and
                                                                     and disseminated
                                                                         disseminated my
                                                                                      my

medical records.
medical records.

        78.
        78.     The first
                The first time
                          time I| saw
                                  saw an
                                      an unredacted
                                         unredacted version
                                                    version of
                                                            of my
                                                               my therapy
                                                                  therapy notes
                                                                          notes is
                                                                                is when Harvard
                                                                                   when Harvard

attached them
attached them to
              to its
                 its May
                     May 31,
                         31, 2022
                             2022 Motion
                                  Motion for
                                         for Partial
                                             Partial Summary
                                                     Summary Judgment
                                                             Judgment as
                                                                      as to
                                                                         to Count
                                                                            Count Ten.
                                                                                  Ten.




                                                   18
                                                   18
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I declare under penalty of perjury that the foregoing is true and correct.



Executed on August 22, 2022                       2     Wi        %
                                               Lilia Kilburn




                                                   19
